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            EXHIBIT 14
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                                                                    [EXECUTION COPY]




                                CREDIT AGREEMENT



                                        among



                               MD HELICOPTERS, INC.,

                                     as Borrower,



                           THE LENDERS SIGNATORY HERETO



                                          and



                     PATRIARCH PARTNERS AGENCY SERVICES, LLC,

                                       as Agent




                                Dated as of July 8, 2005




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        CREDIT AGREEMENT, dated as of July 8, 2005 (as amended, restated,
supplemented or otherwise modified from time to time, the "Agreement"), among MD
HELICOPTERS, INC., an Arizona corporation (the "Borrower"), the lenders signatory
hereto (together with any other financial institutions or investors from time to time
lenders hereunder, the "Lenders"), and PATRIARCH PARTNERS AGENCY
SERVICES, LLC, a Delaware limited liability company, as agent ("PPAS" and, in such
capacity, the "Agent").

                                        RECITALS

       WHEREAS, the Borrower is party to that certain Existing Wachovia Facility (as
defined herein) with certain lenders and Wachovia Bank, National Association, as agent
thereunder;

        WHEREAS, the Borrower has issued the Existing Subordinated Debt (as defmed
herein);

        WHEREAS, the Borrower has requested, and the Agent and the Lenders have
agreed, to (a) provide a delayed draw term loan facility, (b) restructure the Existing
Subordinated Debt of the Borrower into term loans hereunder and (c) provide other
financial accommodations as set forth herein, but, in each case, only to the extent and on
the conditions set forth herein.

        WHEREAS, the Borrower will use the proceeds of the loans to (a) reduce
revolving commitment and the aggregate principal amount of loans outstanding under the
Existing Wachovia Facility each to $20,000,000, (b) pay transaction fees and expenses in
respect of this Agreement and the transactions contemplated hereby and (c) finance
ongoing working capital, capital expenditures and general corporate needs of the
Borrower.

        NOW THEREFORE, in consideration of the premises and the mutual covenants
and the agreements herein set forth, and other good and valuable consideration, the
receipt and sufficiency of which are hereby acknowledged, the parties hereto, intending to
be legally bound, agree as follows:

                                       ARTICLE I
                                      Defined Terms

        Section 1.1    Definitions. As used in this Agreement, including, without
limitation, the preamble, recitals, exhibits and schedules hereto, the following terms have
the meanings stated:

         "Account" has the meaning assigned to such term in the UCC as adopted and in
         effect in the State of New York.

         "Account Debtor" means any Person who is obligated to make payments in
         respect of an Account.


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        "Action" against a Person means an action, suit, litigation, arbitration,
        investigation, complaint, contest, hearing, inquiry, inquest, audit, examination or
        other proceeding threatened or pending against or affecting such Person or its
        property, whether civil, criminal, administrative, investigative or appellate, in law
        or equity before any arbitrator or Governmental Body.

        "Adjusted Consolidated EBITDA" means, for any period, an amount equal to the
        sum, determined on a consolidated basis for the Borrower and all its Subsidiaries
        for such period, of (i) the consolidated earnings (or loss) from the operations after
        all expenses and other proper charges, but before payment or provision for any
        income taxes and interest expense, plus (ii) depreciation and amortization, plus
        (iii) extraordinary and nonrecurring losses, minus (iv) extraordinary and
        nonrecurring gains (in each case, as determined under GAAP), plus (v) non-cash
        stock compensation, plus (vi) any expense required to be recorded under GAAP in
        respect of the issuance of stock options or stock awards, plus (vii) other non-cash
        expenses.

        "Affiliate" of a Person means any other Person (a) that directly or indirectly
        controls, is controlled by or is under common control with, the Person or any of its
        Subsidiaries, (b) that directly or indirectly beneficially owns or holds 10% or more
        of any class of equity Security or other similar interests of the Person or any of its
        Subsidiaries or (c) 10% or more of the equity Securities of which is directly or
        indirectly beneficially owned or held by the Person or any of its Subsidiaries. For
        purposes of this definition, the term "control" means the possession, directly or
        indirectly, of the power to direct or cause the direction of the management and
        policies of a Person, whether through the ownership of voting securities, by
        contract, agreement or otherwise. Notwithstanding the foregoing, no Lender or
        any Affiliate of any Lender shall be an Affiliate of the Borrower or any of its
        Subsidiaries.

        "Agent" means initially PP AS and thereafter any successor Agent appointed
        pursuant to Section 9.8.

        "Agent Fee" has the meaning stated in Section 2.9(a).

        "Aggregate Amounts Due" has the meaning stated in Section 2.15.

        "Agreement" means this Agreement, as it may be amended, amended and restated,
        supplemented or otherwise modified from time to time.

        "Aircraft" means a completed or substantiaJly completed aircraft now or hereafter
        o~ned by the Borrower or a Guarantor and shall include, without limitation, all
        existing and future airframes, engines, rotors and propellers, parts and other
        goods, accessions and property attached to, incorporated in, affixed to or used in
        connection with such aircraft.



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         "Aircraft Mortgage" means, as to any Aircraft as to which an Aircraft Registration
         exists, an aircraft chattel mortgage and security agreement, including any
         supplemental schedules thereto, executed by the Borrower or a Guarantor, in form
         and substance satisfactory to Agent and Lenders, granting to Agent, for the benefit
         of the Lenders, a security interest in and Lien upon such Aircraft.

         "Aircraft Mortgage Recordation'' means, with respect to any Aircraft, the
         recordation of an Aircraft Mortgage with the FAA in accordance with the Federal
         Aviation Act Laws, which constitutes, subject to the Intercreditor Agreement, a
         first and prior security interest in and Lien upon such Aircraft in favor of the
         Agent, for the benefit of the Lenders.

         "Aircraft Registration" means, as to any Aircraft, registration of the title to such
         Aircraft by and in the name of the Borrower in accordance with the Federal
         Aviation Act Laws.

         "Airworthiness Certificate" mean, as to any Aircraft, an Airworthiness Certificate
         with respect to such Aircraft issued by the FAA pursuant to the Federal Aviation
         Act Laws.

         "Applicable Margin" means, (i) with respect to any Term A Loan or any Term C
         Loan, 8.0% and (ii) with respect to any Term B Loan, 5.5%.

         "ARH Program" means the United States Army's Armed Reconnaissance
         Helicopter Program and the request for proposals, dated December 8, 2004, based
         on the MELB Aircraft (as defined in the Cooperation Agreement) configuration.

         "Asset Sale" means a sale, lease or sublease (as lessor or sublessor), sale and
         leaseback, assignment, conveyance, transfer or other disposition to, or any
         exchange of property with, any Person (other than the Borrower or any of its
         Subsidiaries), in one transaction or a series of transactions, of all or any part of the
         businesses of the Borrower or any of its Subsidiaries, assets or properties of any
         kind, whether real, personal, or mixed and whether tangible or intangible, whether
         now OVv'lled or hereafter acquired, including, without limitation, the Capital Stock
         of any Subsidiary of the Borrower, other than inventory (or other assets) sold or
         leased in the ordinary course of business.

         "Assignment Agreement" has the meaning stated in Section 10.4(b).

         "Assignment Fee" has the meaning stated in Section 10.4(b).

         "Atradius" means Atradius Credit Insurance N.V. (f/k/a Nederlandsche
         Credietverzekering Maatschappij N.V.).

         "Atradius Judgment Amount" means the amount of a judgment or order against
         the Borrower for, or any settlement of any pending or threatened litigation or
         proceeding relating to or arising from, amounts owed to Atradius under the

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         Atradius Guaranty, which amount shall not be greater than $57,000,000 for all
         purposes hereunder.

         "Atradius Guaranty" means that certain Guarantee Facility Agreement, dated as of
         May 30, 2001, as amended, substituted and restated as of September 4, 2001,
         October 30, 2001 and February 12, 2002.

         "Atradius Purchase Date" means the date on which the Lenders purchase all, but
         not less than all, of the Atradius Subordinated Debt pursuant to a purchase and
         sale agreement, in form and substance satisfactory to Lenders, between the
         Lenders and Atradius.

         "Atradius Purchase Price" means the amount the Lenders have agreed to pay
         Atradius on the Atradius Purchase Date for the Atradius Subordinated Debt,
         which amount shall not be greater than $57,000,000.00 for all purposes hereunder.

         "Atradius Subordinated Debt" means the subordinated debt of the Borrower owed
         to Atradius and set forth on Schedule 2.2.

         "Atradius Subordinated Debt Amount' means the aggregate amount of the
         Atradius Subordinated Debt purchased by the Lenders pursuant to a purchase and
         sale agreement.

         "Authorized Officer" means, as applied to any Person, any individual holding the
         position of chairman of the board (if an office), chief executive officer, president
         or one of its executive or senior vice presidents (or the equivalent thereof), and
         such Person's chief financial officer or treasurer.

         "Bankruptcy Code" means Title 11 of the United States Code entitled
         "Bankruptcy", as now and hereafter in effect, or any successor statute.

         "Base Rate" means for any day a fluctuating rate per annum equal to the "prime
         rate" of interest in effect for such day as published in the Wall Street Journal.

        "Base Rate Loans" means Loans bearing interest at a rate determined by reference
        to the Base Rate.

        "Boeing Capital" means Boeing Capital Corporation, a Delaware corporation.

        "Boeing Intercreditor Agreement" means that certain Insider Subordination,
        Release, and Intercreditor Agreement, dated as of February 4, 2005, among
        Boeing Capital Corporation, NMB-Heller N.V., McDonnell Douglas Helicopter
        Company, AIG, a.v.v. (as successor to RDM Holding N.V.) and Joep A.J. van den
        Nieuwenhuijzen.

        "Boeing Termination Agreement" means that certain Agreement for Cancellation
        of Loan Agreement and Its Related Documents and Amendment to Cooperation

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         Agreement, dated as of even date herewith, among MDHC, Boeing Capital and
         the Borrower.

         "Boeing Loan Agreement" means that certain Loan Agreement, dated as of
         February 4, 2005, among MD Helicopters, Inc., Boeing Capital Corporation and
         McDonnell Douglas Helicopter Company.

         "Borrower" has the meaning stated in the Preamble of this Agreement.

         "Borrowing" means the making of any Loan.

         "Business Day" means a day other than Saturday or Sunday or other day on which
         commercial banks in New York City, New York, Charlotte, North Carolina or
         Phoenix, Arizona are authorized or required by law or other governmental action
         to close; and, with respect to any borrowings, disbursements and payments in
         respect of and calculations, interest rates and interest periods pertaining to LIBOR
         Loans, such day is also a day on which dealings are carried on for deposits in
         Dollars by and among banks in the London interbank market.

         "Capital Expenditures" means, for any Person for any period, amounts paid or
         indebtedness incurred by such Person or any of its Subsidiaries in connection with
         the purchase or lease by such Borrower or any of its Subsidiaries of any fixed
         asset, real property or improvements that would be treated as capital expenditures
         and reflected as additions to property, plant or equipment on the balance sheet of
         such Person in accordance with GAAP.

         "Capital Lease" means, as applied to any Person, any lease of any property
         (whether real, personal or mixed) by that Person as lessee that, in conformity with
         GAAP, is or should be accounted for as a capital lease on the balance sheet of that
         Person.

         "Capital Stock" means any and all shares, interests, participations or other
         equivalents (however designated) of capital stock of a corporation, any and all
         equivalent ownership interests in a Person (other than a corporation), including,
         without limitation, partnership interests and membership interests, and any and all
         warrants, rights or options to purchase or other arrangements or rights to acquire
         any of the foregoing.

         "Cash" means money, currency or a credit balance in any Deposit Account.

         "Change of Control" means any one or more of the following events:

                (i)      Any individual, corporation, partnership, trust, association, pool,
         syndicate, or any other entity or any group of persons acting in concert (other than
         any Lender, any Affiliate of any Lender, the Borrower or any of its Subsidiaries)
         becomes the beneficial owner, as that concept is defined in Rule 13d-3
         promulgated by the Securities and Exchange Commission under the Exchange

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         Act, of securities of the Borrower possessing either (A) fifty percent (50%) or
         more of the voting power for the election of directors of the Borrower or (B) fifty
         percent (50%) or more in value of the outstanding equity securities (or the right to
         acquire fifty percent (50%) or more) of the Borrower;

                  (ii)   There shall be consummated any consolidation, merger, or other
         business combination involving the Borrower or the securities of the Borrower in
         which (A) holders of voting securities of the Borrower immediately prior to such
         consummation own, as a group, immediately after such consummation, voting
         securities of such Borrower (or, if the Borrower does not survive such transaction,
         voting securities of the corporation surviving such transaction) having less than
         fifty percent (50%) of the total voting power in an election of directors of the
         Borrower (or such other surviving corporation) or (B) holders of equity securities
         of the Borrower immediately prior to such consummation own, as a group,
         immediately after such consummation, equity securities of the Borrower (or, if the
         Borrower does not survive such transaction, voting securities of the corporation
         surviving such transaction) having less than fifty percent (50%) of the equity
         securities of the Borrower (or such other surviving corporation);

                  (iii)   During any period of two (2) consecutive years, individuals who at
         the beginning of such period constitute the directors of the Borrower cease for any
         reason other than voluntary resignation, death, disability, retirement or as
         otherwise provided in the Credit Documents to constitute at least a majority
         thereof unless the election, or the nomination for election by the Borrower's
         shareholders, of each new director of the Borrower was approved by (A) a vote of
         at least two thirds (2/3) of the directors of the Borrower then still in office who
         were directors of the Borrower at the beginning of any such period or (B) the
         Required Lenders; or

                 (iv)    There shall be consummated any sale, lease, exchange, or other
         transfer (in one transaction or a series of related transactions) of assets
         representing all or substantially all of the assets of the Borrower (on a
         consolidated basis) to a party which is not controlled by or under common control
         with the Borrower either before or after such transaction or series of related
         transactions.

         "Closing Date" means the date on which all of the conditions set forth in
         Section 3.1 are satisfied or otherwise waived by the Lenders and Agent.

         "Closing Date Certificate" has the meaning stated in Section 3. 1(g).

         "Collateral" has the meaning stated in the Security Agreement.

         "Collateral Documents" means the Security Agreement, the Trademark Collateral
         Security Agreement, the Patent Collateral Security Agreement and all other
         instruments, documents and agreements delivered by any Credit Party pursuant to


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         this Agreement or any of the other Credit Documents (including, without
         limitation, all UCC financing statements and all account control agreements) in
         order to grant to the Agent, for the benefit of Lenders and the Agent, a Lien on
         any real, personal or mixed property of that Credit Party as security for the
         Obligations.

         "Consents" means any approval; consent, authorization or order of, notice to or
         registration or filing with, or any other action by, any Governmental Body or other
         Person.

         "Consolidated Cash Interest Expense" means, for any period, the amount by
         which:

                 (a)     the sum of (i) the interest expense (including imputed interest
         expense in respect of Capital Leases) of the Borrower and its Subsidiaries for such
         period, determined on a consolidated basis in accordance with GAAP, (ii) any
         interest accrued during such period, in respect of Indebtedness of the Borrower or
         any of its Subsidiaries, that is required under GAAP to be capitalized rather than
         included in consolidated interest expense for such period, determined on a
         consolidated basis in accordance with GAAP and (iii) any cash payments made
         during such period in respect of obligations referred to in clause (b)(ii) below that
         were amortized or accrued in a previous period, exceeds

                  (b)     the sum of (i) to the extent included in such consolidated interest
         expense for such period, non-cash amounts attributable to amortization of
         financing costs paid in a previous period, (ii) to the extent included in such
         consolidated interest expense for such period, non-cash amounts attributable to
         amortization of debt discount or accrued interest payable in kind for such period
         and (iii) the interest income of the Borrower and its Subsidiaries for such period,
         determined on a consolidated basis in accordance with GAAP.

        "Consolidated Fixed Charges" means, for any period, the sum of (a) Consolidated
        Cash Interest Expense for such period, (b) the aggregate amount of scheduled
        principal payments made during such period in respect of Indebtedness of the
        Borrower and its Subsidiaries (except payments made by the Borrower or any of
        its Subsidiaries to the Borrower or any other Subsidiary), determined on a
        consolidated basis in accordance with GAAP and (c) the aggregate amount of
        principal payments (except scheduled principal payments) made during such
        period in respect of Indebtedness of the Borrower and its Subsidiaries (other than
        the Loans), determined on a consolidated basis in accordance with GAAP, in each
        case to the extent that such payment reduced any scheduled principal payments
        that would have become due within one year after the date of such payment.

        "Cooperation Agreement" means that certain Cooperation Agreement for Mission
        Enhanced Little Bird Aircraft, dated as February 4, 2005, between McDonnell
        Douglas Helicopter Company and MD Helicopters, Inc.


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        "Credit Document" means any of this Agreement, the Term Notes (if any), the
        Collateral Documents and all other documents, instruments or agreements
        executed and delivered by a Credit Party for the benefit of Agent or any Lender in
        connection herewith.

        "Credit Party" means each Person (other than the Agent or any Lender or any
        representative thereof) from time to time party to a Credit Document.

        "Dealer's Aircraft Registration Certificate" means any Dealer's Aircraft
        Registration Certificate issued by the FAA to the Borrower pursuant to the Federal
        Aviation Act Laws, as the same now exists or may hereafter be amended,
        supplemented, renewed, extended, revised or replaced.

        "Default" means a condition or event that, after notice or lapse of time or both,
        would constitute an Event of Default.

        "Deposit Account" means any deposit account (as such term is defined in the
        UCC as adopted and in effect in the State of New York), including without
        limitation, a demand, time, savings, passbook or like account with a bank, savings
        and loan association, credit union or like organization, other than an account
        evidenced by a negotiable certificate of deposit.

        "Discounted Purchase Price" means $37,430,438.

        "Dollars" and the sign".$." mean the lawful money of the United States of
        America.

        "Domestic Subsidiary" means any Subsidiary of the Borrower organized under the
        laws of the United States of America or any State thereof.

        "Eligible Aircraft" means Eligible Ship Ready Aircraft and Eligible Demonstrator
        Aircraft.

        "Eligible Assignee" means (a) any Lender or any Affiliate of any Lender, (b) any
        commercial bank, insurance company, investment or mutual fund or other entity
        that is an "accredited investor" (as defined in Regulation D under the Securities
        Act) and that extends credit or buys loans as one of its businesses and/or (c) any
        other Person approved by the Agent that is an "accredited investor" (as defined in
        Regulation D under the Securities Act); provided, that neither the Borrower nor
        any Affiliate of the Borrower shall be an Eligible Assignee.

        "Eligible Demonstrator Aircraft" means Aircraft manufactured and owned by the
        Borrower and used for demonstration purposes by Borrower in connection with
        the sale of Aircraft by the Borrower, as to which: (a) an Airworthiness Certificate
        exists, (b) an Aircraft Registration exists in favor of a Borrower, (c) an Aircraft
        Mortgage Recordation exists in favor of the Agent, for the benefit of the Lenders,
        and (d) such Aircraft is based and primarily used in the United States (as such is

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        defined under the Federal Aviation Act Laws) and not registered in a foreign
        jurisdiction.

         "Eligible Ship Ready Aircraft" means Aircraft, now or hereafter manufactured by
         Bonower, as to which: (a) manufacture and assembly of such Aircraft, including
         the installation and attachment of the appropriate aircraft engine or engines and
         instrumentation thereon, has been at least eighty percent (80%) completed for
         delivery to a prospective buyer, subject only to the installation of certain
         nonessential components acceptable to Lenders, (b)(i) such Aircraft complies with
         the airworthiness requirements prescribed by the Federal Aviation Act Laws for
         the issuance of an Airworthiness Certificate or (ii) an Airworthiness Certificate
         has been issued and (c)(i) an Aircraft Registration exists for such Aircraft and (ii)
         an Aircraft Recordation exists in favor of the Agent, for the benefit of the
         Lenders.

         "Eligible Recurring and Spares Inventory" means finished aircraft rotors,
         fuselages, engines, engine mounts, fuel pumps, cowlings, appliances, flight
         instruments, accessories, avionics, (including, without limitation, raders, radar and
         navigations systems or electronic equipment) and other components and parts for
         Aircraft manufactured by Bonower or a supplier to Bonower and which Bonower
         holds for incorporation and assembly of Aircraft manufactured and sold by         ·
         Bonower or for sale in the ordinary course of its business to third parties as
         replacement parts for completed Aircraft previously manufactured and sold by
         Bonower, which are not attached to, incorporated into or affixed to any Aircraft.

         "Employee Benefit Plan" means any "employee benefit plan" as defined in
         Section 3(3) ofERISA which is or was sponsored, maintained or
         contributed to by, or required to be contributed by, any Bonower, any
         Subsidiary of any Bonower or any of their respective ERISA Affiliates.

        "Environmental Laws" means all federal, state, local and foreign laws (including
        without limitation common law), statutes, regulations and rules whether now or
        hereinafter in effect relating in any way to the environment, the preservation or
        reclamation of natural resources, the management, release or threatened release of
        any Hazardous Material or health and safety matters, including, without
        limitation, the Resource Conservation and Recovery Act, the Comprehensive
        Environmental Response Compensation and Liability Act of 1980, the Superfund
        Amendments and Reauthorization Act of 1986, the Federal Clean Water Act, the
        Federal Clean Air Act, the Toxic Substances Control Act, in each case as
        amended, and all rules, regulations, judgments, decrees, orders and licenses
        arising under all such laws.

        "Environmental Liabilitv" means any actual, alleged or contingent liability or
        obligations of the Bonower or any of its Subsidiaries directly or indirectly
        resulting from or based on (a) violations or alleged violations of any
        Environmental Law, (b) the generation, use, handling, transportation, storage,

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         treatment or disposal of any Hazardous Material, (c) exposure to any Hazardous
         Material, (d) the release or threatened release of any Hazardous Material into the
         environment or (e) any contract, agreement or other consensual arrangement
         pursuant to which liability is assumed or imposed with any of the foregoing.

         "Environmental Permits" means all permits, licenses, authorizations, registrations
         and other governmental consents required by applicable Environmental Laws for
         the use, storage, treatment, transportation, release, emission and disposal of raw
         materials, by-products, wastes and other substances used or produced by or
         otherwise relating to the operations of the Borrower and any of its Subsidiaries.

         "ERISA" means the Employee Retirement Income Security Act of 1974, as
         amended from time to time, and any successor thereto.

        "ERISA Affiliate" means, as applied to any Person, (a) any corporation which is a
        member of a controlled group of corporations within the meaning of
        Section 414(b) of the Internal Revenue Code of which that Person is a member,
        (b) any trade or business (whether or not incorporated) which is a member of a
        group of trades or businesses under common control within the meaning of
        Section 414(c) of the Internal Revenue Code of which that Person is a member,
        and (c) any member of an affiliated service group within the meaning of
        Section 414(m) or (o) of the Internal Revenue Code of which that Person, any
        corporation described in clause (a) above or any trade or business described in
        clause (b) above is a member. Any former ERISA Affiliate of the Borrower or
        any of its Subsidiaries shall continue to be considered an ERISA Affiliate of the
        Borrower or any such Subsidiary within the meaning of this definition with
        respect to the period such entity was an ERIS A Affiliate of the Borrower or any
        such Subsidiary and with respect to liabilities arising after such period for which
        the Borrower or such Subsidiary could be liable under the Internal Revenue Code
        orERISA.

        "ERISA Event" means (a) a "reportable event" within the meaning of
        Section 4043 ofERISA and the regulations issued thereunder with respect to any
        Pension Plan (excluding those for which the provision for 30-day notice to the
        PBGC has been waived by regulation), (b) the failure to meet the minimum
        funding standard of Section 412 of the Internal Revenue Code with respect to any
        Pension Plan (whether or not waived in accordance with Section 412(d) of the
        Internal Revenue Code) or the failure to make by its due date a required
        installment under Section 412(m) of the Internal Revenue Code with respect to
        any Pension Plan or the failure to make any required contribution to a
        Multi employer Plan, (c) the provision by the administrator of any Pension Plan
        pursuant to Section 4041(a)(2) ofERISA of a notice of intent to terminate such
        plan in a distress termination described in Section 4041 (c) of ERIS A, (d) the
        withdrawal by Borrower, any of its Subsidiaries or any of their respective ERIS A
        Affiliates from any Pension Plan with two or more contributing sponsors or the
        termination of any such Pension Plan resulting in liability pursuant to

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        Section 4063 or 4064 of ERJSA, (e) the institution by the PBGC of proceedings to
        terminate any Pension Plan, or the occurrence of any event or condition which
        might constitute grounds under ERJSA for the termination of, or the appointment
        of a trustee to administer, any Pension Plan, (f) the imposition of liability on
        Borrower, any of its Subsidiaries or any of their respective ERJSA Affiliates
        pursuant to Section 4062(e) or 4069 of ERJSA or by reason of the application of
        Section 4212(c) ofERJSA, (g) the withdrawal of Borrower, any of its Subsidiaries
        or any of their respective ERIS A Affiliates in a complete or partial withdrawal
        (within the meaning of Sections 4203 and 4205 of ERISA) from any
        Multiemployer Plan if there is any potential liability therefor, or the receipt by
        Borrower, any of its Subsidiaries or any of their respective ERJSA Affiliates of
        notice from any Multiemployer Plan that it is in reorganization or insolvency
        pursuant to Section 4241 or 4245 ofERJSA, or that it intends to terminate or has
        terminated under Section 404 lA or 4042 of ERJSA, (h) the occurrence of an act
        or omission which could give rise to the imposition on Borrower, any of its
        Subsidiaries or any of their respective ERJSA Affiliates of fines, penalties, taxes
        or related charges under Chapter 43 of the Internal Revenue Code or under
        Section 409, Section 502(c), (i) or (1), or Section 4071 ofERJSA in respect of any
        Employee Benefit Plan, (i) the assertion of a material claim (other than routine
        claims for benefits) against any Employee Benefit Plan other than a
        Multiemployer Plan or the assets thereof, or against Borrower, any of its
        Subsidiaries or any of their respective ERJSA Affiliates in connection with any
        Employee Benefit Plan, G) receipt from the Internal Revenue Service of notice of
        the failure of any Pension Plan (or any other Employee Benefit Plan intended to
        be qualified under Section 40l(a) of the Internal Revenue Code) to qualify under
        Section 401(a) of the Internal Revenue Code, or the failure of any trust forming
        part of any Pension Plan to qualify for exemption from taxation under
        Section 501(a) of the Internal Revenue Code, or (k) the imposition of a Lien
        pursuant to Section 401 (a)(29) or 412(n) of the Internal Revenue Code or pursuant
        to ERJSA with respect to any Pension Plan.

        "Escrow Agent" means PP AS, in its capacity as escrow agent under the Escrow
        Agreement.

        "Escrow Agreement" means that certain Escrow Agreement, dated as July 8,
        2005, among Escrow Agent, ABN AMRO Participaties, N.V., :MD Helicopters
        B.V., AIG a.v.v. and each Lender.

        "Escrow Account" means the interest-bearing deposit account that is governed by
        the Escrow Agreement.

        "Escrow Amount" means, at any time, the amount on deposit in the Escrow
        Account. The initial Escrow Amount on the Closing Date shall be the sum of
        $12,734,188.00 plus €9,500,000.00.

        "Event of Default" means each of the conditions or events set forth in Section 8.1.

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         "Exchange Act" means the Securities Exchange Act of 1934, as amended from
         time to time, and any successor statute.

         "Existing Subordinated Debt" means the subordinated debt set forth on
         Schedule 2.2.

         "Existing Wachovia Facility" means that certain Loan and Security Agreement,
         dated as of February 18, 1999, among MD Helicopters, Inc. and MD Helicopters
         Trade and Finance Inc. (a/k/a MD Helicopters Trade and Finance N.V.), as
         borrowers, and Congress Financial Corporation (New England), as lender, as
         amended by the First Amendment to Financing Agreements, dated as of June 9,
         2000; the Second Amendment to Financing Agreements, dated as of September
         15, 2000; the Third Amendment to Financing Agreements, dated as of December
         31, 2000; the Fourth Amendment to Financing Agreements, dated as of
         September 1, 200 I; the Fifth Amendment to Financing Agreements, dated as of
         December 28, 2001; the Sixth Amendment to Loan and Security Agreement,
         dated as of April 2, 2003; the Seventh Amendment to Loan and Security
         Agreement, dated as of August 25, 2003; the Waiver and Amendment, dated as of
         December 9, 2003; the Eighth Amendment to Loan and Security Agreement,
         dated as of April 29, 2004; the Ninth Amendment to Loan and Security
         Agreement, dated as of July 14, 2004; the Tenth Amendment to Loan and Security
         Agreement, dated as of August 7, 2004; the Eleventh Amendment to Loan and
         Security Agreement, dated as of October 27, 2004; the Twelfth Amendment to
         Loan and Security Agreement, dated as of November 23, 2004; the Thirteenth
         Amendment to Loan and Security Agreement, dated as of February 4, 2005; the
         Fourteenth Amendment to Loan and Security Agreement, dated as of April 22,
         2005; and the Fifteenth Amendment to Loan and Security Agreement, dated as of
         June 10, 2005.

        "FAA" means the Federal Aviation Administration of the United States
        Department of Transportation, an agency of the United States of America, and any
        subdivision or office thereof, and any successor or replacement administrator,
        agency or other entity having the same or similar authority and responsibilities.

        "FAA Certificates" means, collectively, all certificates required by the FAA and
        the Federal Aviation Act Laws for the manufacture, design, production,
        maintenance, use and/or sale of aircraft by the Borrower, including, without
        limitation, each Type Certificate, Production Certificate, Airworthiness
        Certificate, and Dealer's Aircraft Registration Certificate issued in favor of the
        Borrower or its successor and pursuant to a license relating thereto, as the same
        now exist or may hereafter be amended, supplemented, renewed, extended,
        reissued or replaced.

        "Federal Aviation Act Laws" means Title 49 of the United States Code, as the
        same now exists or may hereafter from time to time be amended, modified,



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         recodified or supplemented, together with all rules, regulations, procedures,
         orders, handbooks, guidelines and interpretations thereunder or related thereto.

         "Financial Officer Certification" means, with respect to the financial statements
         for which such certification is required, the certification of the chief financial
         officer of the Borrower that such financial statements fairly present, in all material
         respects, the financial condition bf the Borrower and its Subsidiaries on a
         consolidated basis as at the dates indicated and the results of their operations and
         their cash flows for the periods indicated, subject to changes resulting from audit
         and normal year-end adjustments.

         "Financial Plan" means the budget attached hereto as Exhibit A for the 2005 Year
         of Borrower.

         "Financials" means, with respect to any Person for any period, the balance sheet
         of such Person as at the end of such period, and the related statement of income
         and expense and statement of cash flow of such Person for such period, each
         setting forth in comparative form the figures for the previous comparable fiscal
         period, all in reasonable detail and prepared in accordance with GAAP.

         "Fiscal Quarter" means a fiscal quarter of any Fiscal Year.

         "Fiscal Year" means the fiscal year of the Borrower and each Subsidiary of the
         Borrower ending on December 31 of each calendar year.

         "Foreign Lender" has the meaning stated in Section 7.2(a).

         "Funding Notice" means a notice substantially in the form of Exhibit B.

         "GAAP" means generally accepted accounting principles in the United States as
         in effect from time to time, consistently applied throughout the periods to which
         reference is made.

         "Governmental Body" means any agency, bureau, commission, court, department,
         official, political subdivision, tribunal or other instrumentality of any
         administrative, judicial, legislative, executive, regulatory, police or taxing
         authority of any government, whether supranational, national, federal, state,
         regional, provincial, local, domestic or foreign.

         "Hazardous Materials" means any hazardous or toxic substance, waste,
         contaminant, pollutant, gas or material, including, without limitation, radioactive
         materials, oil, petroleum and petroleum products and constituents thereof, which
         are regulated under any Environmental Law, including, without limitation, any
         substance, waste or material which is (a) designated a "pollutant", "hazardous
         substance", "extremely hazardous substance" or "toxic chemical" under any
         Environmental Law, or (b) regulated in any way under the Regulations of any
         state where the Borrower or any of its Subsidiaries conduct its business or owns

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         any real property or has any leasehold or in which any Relevant Property is
         located.

         "Hedge Agreement" means an Interest Rate Agreement entered into in order to
         satisfy the requirements of this Agreement or otherwise in the ordinary course of
         the business of the Borrower or any of its Subsidiaries.

         "Indebtedness" means, with respect to any Person, without duplication, the
         foUowing: (i) all indebtedness of such Person for borrowed money, (ii) all
         obligations of such Person for the deferred purchase price of property or services
         other than accounts payable and accrued liabilities that would be classified as
         current liabilities under GAAP which payables and expenses are incurred in
         respect of property or services purchased in the ordinary course of business, (iii)
         all obligations of such Person evidenced by notes, bonds, debentures or similar
         borrowing or securities instruments, (iv) all obligations of such Person created or
         arising under any conditional sale or other title retention agreement with respect to
         property acquired by such Person, (v) all obligations of such Person as lessee
         under Capital Leases, (vi) all obligations of such Person in respect of banker's
         acceptances and letters of credit, (vii) all obligations of such person secured by
         Liens on the assets and property of such Person, (viii) all obligations of such
         Person to purchase, redeem, retire, defease or otherwise make any payment in
         respect of any capital stock or other ownership or profit interest in such Person or
         any other Person or any warrants, rights or options to acquire such capital stock,
         (ix) all obligations of such Person in respect of any guaranty by such Person of
         any obligation of another Person of the type described in clauses (i) through (viii)
         of this definition and (x) all obligations of another Person of the type described in
         clauses (i) through (ix) secured by a Lien on the property or assets of such Person
         (whether or not such Person is otherwise liable for such obligations of such other
         Person).

         "Intellectual Property" means, collectively, all copyrights, all patents and all
         trademarks, together with: (a) all inventions, processes, production methods,
         proprietary information, know-how and trade secrets; (b) aH licenses or user or
         other agreements granted to the Borrower or any of its Subsidiaries with respect to
         any of the foregoing, in each case whether now or hereafter owned or used
         including the licenses or other agreements with respect to any Collateral; (c) all
         customer lists, identification of suppliers, data, plans, blueprints, specifications,
         designs, drawings, recorded knowledge, surveys, engineering reports, test reports,
         manuals, materials standards, processing standards, performance standards,
         catalogs, computer and automatic machinery software and programs; (d) all field
         repair data, sales data and other information relating to sales or service of products
         now or hereafter manufactured; (e) all accounting information and all media in
         which or on which any information or knowledge or data or records may be
         recorded or stored and all computer programs used for the compilation or printout
         of such information, knowledge, records or data; and (f) all causes of action,
         claims and warranties, in each case, now or hereafter owned or acquired by the

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         Bonower or any of its Subsidiaries in respect of any of the items listed above.

         "Interest Period" means consecutive one-month periods, beginning on the date
         hereof and ending on the Maturity Date; provided that:

                          (i)     the initial Interest Period shall begin on the Closing Date
                  and end on the last day of July 2005. Thereafter, each subsequent Interest
                  Period will begin on the day following the last day of the preceding
                  Interest Period (with such last day of such preceding Interest Period
                  determined with reference to clauses (ii) through (v) below);

                          (ii)   any Interest Period that would otherwise end on a day that
                 is not a Business Day shall, subject to the provisions of clause (iv) below,
                 be extended to the next succeeding Business Day unless such Business
                 Day falls in the next calendar month, in which case such Interest Period
                 shall end on the immediately preceding Business Day;

                         (iii)    any Interest Period that begins on the last Business Day of a
                 calendar month (or on a day for which there is no numerically
                 conesponding day in the calendar month at the end of such Interest Period)
                 shall, subject to clause (iv) below, end on the last Business Day of a
                 calendar month;

                        (iv)   any Interest Period that would otherwise end after the
                 Maturity Date shall end on the Maturity Date; and

                         (v)     except as otherwise provided under clause (i), (iii) or (iv)
                 above, no Interest Period shall have a duration ofless than one month and
                 if any applicable Interest Period would be for a shorter period, such
                 Interest Period shall not be available hereunder.

         "Interest Rate Agreement" means any interest rate swap agreement, interest rate
         cap agreement, interest rate collar agreement, interest rate hedging agreement or
         other similar agreement or anangement, each of which is for the purpose of
         hedging the interest rate exposure associated with the operation of the Borrower
         or any of its Subsidiaries.

        "Internal Revenue Code" means the Internal Revenue Code of 1986, as amended
        to the date hereof and from time to time hereafter, and any successor statute.

        "Investment" means (a) any direct or indirect purchase or other acquisition for
        value by the Bonower or any of its Subsidiaries of, or of a beneficial interest in,
        any of the Securities (including any Capital Stock) of any Person, (b) any direct or
        indirect redemption or retirement by the Borrower or any of its Subsidiaries from
        any Person, of any Capital Stock of such Person, and (c) any direct or indirect
        loan, advance (other than advances to employees for moving, entertainment and
        travel expenses, drawing accounts and similar expenditures in the ordinary course

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         of business) or capital contribution by the Borrower or any of its Subsidiaries to
         any other Person (other than the Borrower or any of its Subsidiaries), including all
         indebtedness and accounts receivable from that other Person that are not current
         assets or did not arise from sales to that other Person and/or constitute ordinary
         trade credit extended in the ordinary course of business. The amount of any
         Investment shall be the original cost of such Investment plus the cost of all
         additions thereto, without any adjustments for increases or decreases in value, or
         write-ups, write-downs or write-offs with respect to such Investment.

         "Joint Venture" means a joint venture, partnership or other similar arrangement,
         whether in corporate, partnership or other legal form; provided, in no event shall
         any corporate Subsidiary of any Person be considered to be a Joint Venture to
         which such Person is a party.

         "Knowledge" means, with respect to the Borrower or any Credit Party as the
         context requires, the knowledge of any of such Borrower's or Credit Party's
         Authorized Officers after notice and reasonable inquiry by such Authorized
         Officers.

         "Leasehold Property" means any leasehold interest of any Credit Party as lessee
         under any lease ofreal property, other than any such leasehold interest designated
         from time to time by Lenders in their sole discretion as not being required to be
         included in the Collateral.

         "Lenders" has the meaning set forth in the Preamble to this Agreement.

         "Leverage Ratio" means, on any day, the ratio of (a) Total Indebtedness as of such
         day to (b) Adjusted Consolidated EBITDA for the period of four consecutive
         Fiscal Quarters ended on such day (or, if such day is not the last day of a Fiscal
         Quarter, ended on the last day of the Fiscal Quarter most recently ended before
         such day).

        "LIBOR" means, as to any Loan for any Interest Period, the rate quoted by
        Bloomberg Information Service (or by any successor or substitute for such
        Service, or any successor to or substitute for such Service, providing rate
        quotations comparable to those currently provided by such Service, as determined
        by the Agent from time to time for purposes of providing quotations of interest
        rates applicable to Dollar deposits in the London interbank market) at
        approximately 11 :00 a.m., London time, two Business Days before the begim1ing
        of such Interest Period, as the rate for Dollar deposits with a maturity comparable
        to such Interest Period. If such rate is not available at such time for any reason,
        LIBOR as to any LIBOR Loan for any Interest Period shall be the arithmetic mean
        (rounded upward, if necessary, to the next 1/16 of 1%) of the offered quotations of
        at least two Reference Banks to the prime banks in the London interbank market
        for dollar deposits with a maturity comparable to such Interest Period at
        approximately 11 :00 a.m., London time, two Business Days before the beginning


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        of such Interest Period. For purposes of this definition, "Reference Banks" shall
        mean major banks in the London interbank market selected by the Agent. For all
        purposes hereunder, LIBOR shall never be below 2.0% per annum.

        "LIBOR Loans" means Loans bearing interest at a rate determined by reference to
        the LIBOR.

        "Lien" means any encumbrance, mortgage, pledge, hypothecation, charge,
        restriction or other security interest of any kind securing any obligation of any
        Person.

        "Loans" means the Term A Loans and the Term B Loans.

        "Margin Stock" as defined in Regulation U of the Board of Governors of the
        Federal Reserve System as in effect from time to time.

        "Material Adverse Effect" means a material adverse effect on (a) the business,
        operations, properties, assets, condition (financial or otherwise) or prospects of
        the Borrower and all of its Subsidiaries taken as a whole or (b) the ability of the
        Borrower to perform their obligations hereunder or under of any of the other
        Credit Documents.

        "Material Contracts" means, with respect to any Person, each contract listed on
        Schedule 4.1 (w), each contract which is a replacement or a substitute for any
        contract listed on such Schedule and each other contract to which such Person is a
        party which is material to the business, financial condition, operations,
        performance, properties or reasonably foreseeable business prospects of such
        Person.

        "Maturity Date" means the earlier of (a) July 8, 2009, and (b) the date that the
        Loans shall become due and payable in full hereunder, whether by acceleration or
        otherwise.

        "MDHC" means McDonnell Douglas Helicopter Company, a Delaware
        corporation.

        "Multiemplover Plan" means any Employee Benefit Plan which is a "multi-
        employer plan" as defined in Section 3(37) ofERISA.

        "Net Asset Sale Proceeds" means, for the Borrower, with respect to any Asset
        Sale, an amount equal to: (a) Cash payments (including any Cash received by way
        of deferred payment pursuant to, or by monetization of, a note receivable or
        otherwise, but only as and when so received) received by the Borrower or any of
        its Subsidiaries from such Asset Sale, minus (b) any bona fide direct costs
        (including, without limitation, reasonable attorney and broker fees and similar
        fees and expenses) incurred in connection with such Asset Sale, including (i)
        income or gains taxes actually payable by the seller as a result of any gain

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        recognized in connection with such Asset Sale, (ii) payment of the outstanding
        principal amount of and premium or penalty, if any, and interest on any
        Indebtedness (other than the Loans) that is secured by a Lien on the stock or assets
        in question and that is required to be repaid under the terms thereof as a result of
        such Asset Sale and (iii) a reasonable reserve for any indemnification payments
        (fixed or contingent) attributable to seller's indemnities and representations and
        warranties to purchaser in respect of such Asset Sale undertaken by the Borrower
        or any of its Subsidiaries in connection with such Asset Sale.

        "Net Insurance/Condemnation Proceeds" means, for the Borrower, an amount
        equal to: (a) any Cash payments or proceeds received by such Borrower or any of
        its Subsidiaries (i) under any casualty insurance policy in respect of a covered loss
        thereunder or (ii) as a result of the taking of any assets of such Borrower or any of
        its Subsidiaries by any Person pursuant to the power of eminent domain,
        condemnation or otherwise, or pursuant to a sale of any such assets to a purchaser
        with such power under threat of such a taking minus (b) (i) any actual and
        reasonable documented costs incurred by such Borrower or any of its Subsidiaries
        in connection with the adjustment or settlement of any claims of such Borrower or
        such Subsidiary in respect thereof, and (ii) any bona fide direct costs incurred in
        connection with any sale of such assets as referred to in clause (a)(ii) ofthis
        definition, including income taxes actually payable as a result of any gain
        recognized in connection therewith.

        "New Wachovia Facility" has the meaning stated in Section 3.l(u).

        "Obligations" means all indebtedness, obligations and liabilities of each Credit
        Party from time to time owed to the Agent, the Lenders or any of them or their
        respective Affiliates, direct or indirect, joint or several, absolute or contingent,
        matured or unmatured, liquidated or unliquidated, secured or unsecured, arising
        by contract, operation of law or otherwise, arising or incurred under this
        Agreement or any other Credit Document or Hedge Agreement or in respect of
        any Loan, any Term Note or any other instruments at any time evidencing any
        thereof.

        "Patriarch Escrow Amount" has the meaning set forth in the Escrow Agreement.

        "PBGC" means the Pension Benefit Guaranty Corporation or any successor
        thereto.

        "PDS Aircraft" means that certain Aircraft with model number 369FF, having a
        registration number OOOF4 and manufacturer's serial number N630N.

        "Pension Plan" means any Employee Benefit Plan, other than a Multiemployer
        Plan, which is subject to Section 412 of the Internal Revenue Code or Section 302
        ofERISA.



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         "Permit" means any permit, license, approval, consent, permission, notice,
         franchise, confirmation, endorsement, waiver, certification, registration,
         qualification, clearance or other authorization issued, granted, given or otherwise
         made available by or under the authority of any Governmental Body or pursuant
         to any federal, state, local or foreign Regulation.

         "Permitted Indebtedness" means· the indebtness permitted pursuant to
         Section 6.l(a).

         "Permitted Liens" means each of the Liens permitted pursuant to Section 6.l(b).

         "Person" means and includes natural persons, corporations, limited partnerships,
         general partnerships, limited liability companies, limited liability partnerships,
         joint stock companies, Joint Ventures, associations, companies, trusts, banks, trust
         companies, land trusts, business trusts or other organizations, whether or not legal
         entities, other legal entities and Governmental Bodies.

         "PP AS" has the meaning set forth in the Preamble to this Agreement.

         "Principal Office" means, for the Agent, its office located at 112 South Tryon
         Street, Suite 700, Charlotte, North Carolina 28284, Attention: Greg Murphy, or,
         such other office as the Agent may from time to time designate in writing to the
         Borrower and each Lender.

         "Pro Rata Share" means (i) with respect to all payments, computations and other
         matters relating to the Term A Loan(s) of any Lender, the percentage which the
         Term A Commitment of such Lender constitutes of the aggregate Term A
         Commitments of all Lenders, (ii) with respect to all payments, computations and
         other matters relating to the Term B Loan of any Lender, the percentage which the
         outstanding principal amount of such Lender's Term B Loan constitutes of the
         aggregate outstanding principal amount of the Term B Loans of all Lenders and
         (iii) with respect to all payments, computations and other matters relating to the
         Term C Loan of any Lender, the percentage which the Term C Commitment of
         such Lender constitutes of the aggregate Tenn C Commitments of all Lenders.

         "Production Certificate" means a Production Certificate issued by the FAA to any
         Person pursuant to the Federal Aviation Act Laws certifying that the
         manufacturing, production, inspection and quality control capabilities of such
         Person to manufacture, produce and deliver airworthy aircraft comply with the
         requirements of the FAA Aviation Act Laws, as the same now exist or may
         hereafter be amended, modified, supplemented, renewed, reissued or replaced.

         "Register" has the meaning stated in Section 2.7(a).

        "Regulation" means each applicable law, rule, regulation, order, guidance or
        recommendation (or any change in its interpretation or administration) by any
        Governmental Body, central bank or comparable agency and any request or

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         directive (whether or not having the force oflaw) of any of those Persons and
         each judgment, injunction, order, writ, decree or award of any Governmental
         Body, arbitrator or other Person.

         "Relevant Property" means, for the Borrower, all sites, facilities, locations, real
         property and leaseholds (a) presently or formerly owned, leased, used or operated
         by the Borrower or any of its Subsidiaries (whether or not such properties are
         currently owned, leased, used or operated by the Borrower or any of its
         Subsidiaries), (b) at which any Hazardous Material has been transported,
         disposed, treated, stored or released by the Borrower or any of its Subsidiaries, or
         (c) that are directly adjacent to any sites, facilities, locations, real property or
         leaseholds presently or formerly owned, leased, used or operated by the Borrower
         or any of its Subsidiaries.

        "Replevin Action" means the action entitled Congress Financial Corporation
        (New England) v. MD Helicopters, Inc. (no. CV 2004-024222) pending in the
        Superior Court of Arizona, County of Maricopa, Arizona.

        "Required Lenders" means, at any time, one or more Lenders having or holding a
        Loan(s), and representing more than 50% of the sum of the aggregate Loans of all
        Lenders.

        "Restricted Junior Payment" means, for the Borrower and/or any of its
        Subsidiaries, (a) any dividend or other distribution, direct or indirect, on account
        of any shares of any class of Capital Stock of the Borrower or any of its
        Subsidiaries now or hereafter outstanding, except a dividend payable solely in
        shares of that class of Capital Stock to the holders of that class, (b) any
        redemption, retirement, sinking fund or similar payment, purchase or other
        acquisition for value, direct or indirect, of any shares of any class of stock of the
        Borrower or its Subsidiaries now or hereafter outstanding, and (c) any payment
        made to retire, or to obtain the surrender of, any outstanding warrants, options or
        other rights to acquire shares of any class of Capital Stock of the Borrower or its
        Subsidiaries now or hereafter outstanding.

        "Securities" means any stock, shares, partnership interests, voting trust
        certificates, certificates of interest or participation in any profit-sharing agreement
        or arrangement, options, warrants, bonds, debentures, notes, or other evidences of
        indebtedness, secured or unsecured, convertible, subordinated or otherwise, or in
        general any instruments commonly known as "securities" or any certificates of
        interest, shares or participations in temporary or interim certificates for the
        purchase or acquisition of, or any right to subscribe to, purchase or acquire, any of
        the foregoing.

        "Securities Act" means the Securities Act of 1933, as amended from time to time,
        and any successor statute.



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         "Security Agreement" means the Security Agreement, dated as of even date
         herewith, between the Borrower and the Agent.

         "Shareholders' Agreement" means the Shareholders' Agreement, dated as of July
         8, 2005, among the Borrower and each shareholder of the Borrower signatory
         thereto.

         "Structuring Fee" has the meaning stated in Section 2.9(b).

         "Subordinated Debt Amount" means, as of the Closing Date, $81,374,564.

         "Subsidiary" means, with respect to any Person, any corporation, partnership,
         limited liability company, association, joint venture or other business entity of
         which more than 50% of the total voting power of shares of stock or other
         ownership interests entitled (without regard to the occurrence of any contingency)
         to vote in the election of the Person or Persons (whether directors, managers,
         trustees or other Persons performing similar functions) having the power to direct
         or cause the direction of the management and policies thereof is at the time owned
         or controlled, directly or indirectly, by that Person or one or more of the other
         Subsidiaries of that Person or a combination thereof, provided, in determining the
         percentage of ownership interests of any Person controlled by another Person, no
         ownership interest in the nature of a "qualifying share" of the former Person shall
         be deemed to be outstanding.

        "Tax" means any present or future tax, levy, impost, duty, assessment, charge, fee,
        deduction or withholding of any nature and whatever called, by whomsoever, on
        whomsoever and wherever imposed, levied, collected, withheld or assessed,
        provided, "Tax on the overall net income" of a Person shall be construed as a
        reference to a tax imposed by the jurisdiction in which that Person is organized or
        in which that Person's applicable principal office (and/or, in the case of a Lender,
        its lending office) is located or in which that Person (and/or, in the case of a
        Lender, its lending office) is deemed to be doing business on all or part of the net
        income, profits or gains (whether worldwide, or only insofar as such income,
        profits or gains are considered to arise in or to relate to a particular jurisdiction, or
        otherwise) of that Person (and/or, in the case of a Lender, its applicable lending
        office).

        "Term A Commitments" means (a) with respect to each Lender that is a lender on
        the Closing Date, the amount set forth opposite such Lender's name on Schedule
        U and (b) in the case of any lender that becomes a Lender after the Closing Date,
        the amount specified as such Lender's "Term A Commitment" in the Assignment
        and Acceptance pursuant to which such Lender assumed such Term A
        Commitment, in each case as the same may be reduced or increased from time to
        time pursuant to the terms hereof.




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         "Term A Commitment Period" means the period from and after the Closing Date
         to but excluding the Maturity Date.

         "Term A Loans" means the Term A Loans made pursuant to Section 2.1.

         "Term A Note" has the meaning set forth in Section 2.7(b).

         "Term B Loans" means the Term B Loans made pursuant to Section 2.2.

         "Term B Note" has the meaning set forth in Section 2.7(b).

         "Term C Commitments" means (a) with respect to each Lender that is a lender on
         the Closing Date, the amount set forth opposite such Lender's name on Schedule
         2.1 and (b) in the case of any lender that becomes a Lender after the Closing Date,
         the amount specified as such Lender's "Term C Commitment" in the Assignment
         and Acceptance pursuant to which such Lender assumed such Term C
         Commitment, in each case as the same may be reduced or increased from time to
         time pursuant to the terms hereof.

         "Term C Commitment Period" means the period from and after the Closing Date
         to the earlier of (a) the Atradius Purchase Date and (b) the Maturity Date.

         "Term C Loans" means the Term C Loans made pursuant to Section 2.3.

         "Term C Note" has the meaning set forth in Section 2.7(b).

         "Term C Trigger Amount" means the Atradius Judgment Amount or the Atradius
         Purchase Price, as applicable.

         "Term C Trigger Event" means either (i) an Atradius Judgment Amount exists or
         (ii) the Lenders have entered into a purchase and sale agreement to acquire the
         Atradius Subordinated Debt.

         "Term Note" means the Term A Notes, the Term B Notes and the Term C Notes.

        "Total Indebtedness" means, as of any date, the sum of (a) the aggregate principal
        amount of Indebtedness of the Borrower and its Subsidiaries outstanding as of
        such date, in the amount that would be reflected on a balance sheet prepared as of
        such date on a consolidated basis in accordance with GAAP, and (b) the aggregate
        principal amount oflndebtedness of the Borrower and its Subsidiaries outstanding
        as of such date that is not required to be reflected on a balance sheet in accordance
        with GAAP, determined on a consolidated basis.

        "Trademark Collateral Security Agreement" means the Trademark Collateral
        Security Agreement in the form attached as Attachment A to the Security
        Agreement.



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         "Tvpe Certificate" means, individually and collectively, any Type Certificates
         issued or assigned to the Borrower and pursuant to the Federal Aviation Act Laws
         certifying that the type design, operating limitations and certificate data sheets of
         certain aircraft models which are the subject of such type certificate comply with
         the requirements of the Federal Aviation Act Laws, as the same now exist or may
         hereafter be amended, modified, supplemented, renewed, reissued or replaced.

         "UCC" means the Uniform Commercial Code (or any similar or equivalent
         legislation) as in effect in any applicable jurisdiction.

         "VDN" means Mr. Joep A. J. van den Nieuwenhuijzen, a natural Person.

         "Wachovia" means, collectively, Wachovia Capital Finance Corporation (New
         England) and Wachovia Capital Finance Corporation (Western).

         "Wachovia Agent" means Wachovia Capital Finance Corporation (Western) in its
         capacity as agent under the New Wachovia Credit Facility.

                                           ARTICLE II
                                             Loans

         Section 2.1       Term A Loans.

                  (a)    During the Term A Commitment Period and subject to the terms
         and conditions hereof and relying on the representations and warranties herein set
         forth, each Lender severally agrees to make one or more Term A Loans in an
         amount up to but not exceeding such Lender's Term A Commitment. Subject to
         the terms and conditions and relying on the representations and warranties herein
         set forth, each Lender severally agrees to make an initial Term A Loan to the
         Borrower on the Closing Date in a principal amount not to exceed its Pro Rata
         Share of $37,937,865.

               (b)     Any amount borrowed under this Section 2.1 and subsequently
        repaid or prepaid may not be re borrowed. Subject to Sections 2.11 and 2.] 2, all
        amounts owed under this Section 2.1 shall be paid in full no later than the
        Maturity Date.

                (c)     Any amount borrowed under this Section 2.1 shall (i) bear interest
        as provided in Section 2.8 hereof and (ii) be entitled to the security interests,
        collateral and other rights and benefits provided pursuant to this Agreement and
        the other Credit Documents.

        Section 2.2        Term B Loans.

                (a)     Subject to the terms and conditions and relying on the
        representations and warranties herein set forth, (i) the Existing Subordinated Debt
        (other than the Atradius Subordinated Debt) shall be automatically converted to

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(            Tenn B Loans on the Closing Date, without any notice or further action of any
             kind and (ii) the Atradius Subordinated Debt shall be deemed converted to a Term
             B Loan as of the Closing Date. As of the Closing Date, the aggregate outstanding
             principal amount of each Lender's Tenn B Loan shall be equal to the amount set
             forth opposite its name on Schedule 2.1 under the caption "Closing Date
             Amount".

                     (b)    Any amounts borrowed pursuant to this Section 2.2 and
             subsequently repaid or prepaid may not be reborrowed. Subject to Sections 2.11
             and 2.12, all amounts owed under this Section 2.2 shall be paid in full no later
             than the Maturity Date.

                     (c)     The Tenn B Loans shall (i) bear interest as provided in Section 2.8
             hereof and (ii) be entitled to the security interests, collateral and other rights and
             benefits provided pursuant to the other Credit Documents.

             Section 2.3        Term C Loans.

                     (a)    During the Term C Commitment Period and only upon a Tenn C
             Trigger Event, subject to the terms and conditions hereof and relying on the
             representations and warranties herein set forth, each Lender severally agrees to·
             make a single Tenn C Loan in an principal amount equal to the excess of the
             Tenn C Trigger Amount over the Escrow Amount. At any time the Escrow
(
             Amount is greater than zero, no Lender shall have an obligation to, and no Lender
             shall, make a Term C Loan.

                     (b)    Any amount borrowed under this Section 2.1 and subsequently
             repaid or prepaid may not be reborrowed. Subject to Sections 2.11 and 2.12, all
             amounts owed under this Section 2.3 shall be paid in fu]l no later than the
             Maturity Date.

                     (c)     Any amount borrowed under this Section 2.3 sha]l (i) bear interest
             as provided in Section 2.8 hereof and (ii) be entitled to the security interests,
             collateral and other rights and benefits provided pursuant to this Agreement and
             the other Credit Documents.

             Section 2.4        Borrowing Mechanics.

                    (a)   The Term A Loans shall be made in an aggregate minimum
             amount of $250,000 and integral multiples of $50,000 in excess of that amount.
             The Term C Loans, in the aggregate, shall not exceed the excess of (i) the Term C
             Trigger Amount over (ii) the Escrow Amount.

                     (b)      Whenever the Borrower desires that Lenders make Tenn A Loans
             or Tenn C Loans, as applicable, the Borrower shall deliver to Agent a fully
             executed and delivered Funding Notice no later than 10:00 a.m. (New York City
             time) at least three Business Days in advance of the proposed Borrowing Date,

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        which Borrowing Date shall be a Business Day.

                (c)     Notice of receipt of each Funding Notice in respect of Term A
        Loans or Tenn C Loans, as applicable, together with the amount of each Lender's
        Pro Rata Share thereof, together with the applicable interest rate, shall be provided
        by Agent to each app]icable Lender by facsimile with reasonable promptness, but
        (provided, Agent shall have received such notice by 10:00 a.m. (New York City
        time)) not later than 4:00 p.m. (New York City time) on the same day as Agent's
        receipt of such Notice from Borrower.

                (d)     Each Lender shall make the amount of its Term A Loan or Term C
        Loan, as applicable, available to Agent no later than 2:00 p.m. (New York City
        time) on the applicable Borrowing Date by wire transfer of same day funds in
        Dollars, at the Agent's Principal Office. Except as provided herein, upon
        satisfaction or waiver of the conditions precedent specified herein, Agent shall
        make the proceeds of such Term A Loans or Term C Loans, as applicable,
        available to Borrower on the applicable Borrowing Date by causing an amount of
        same day funds in Dollars equal to the proceeds of all such Term A Loans or
        Term C Loans, as applicable, received by Agent from Lenders to be credited to
        the account of the Borrower designated in writing to Agent by Borrower.

        Section 2.5    Pro Rata Shares. The Loans shall be made by Lenders
simultaneously and proportionately to their respective Pro Rata Share, it being understood
that no Lender shall be responsible for any default by any other Lender in such other
Lender's obligation to make the Loans requested hereunder.

        Section 2.6       Use of Proceeds.

                (a)     The proceeds of the Term A Loans and Term B Loans made on the
        Closing Date and the proceeds of the Term A Loans made during the Term A
        Commitment Period shall be used by the Borrower solely (a) to repay or refinance
        a portion of the Existing Wachovia Facility such that at Closing the maximum
        aggregate outstanding principal amount of Loans (as defined in the Existing
        Wachovia Facility) would not exceed $20,000,000, (b) to pay all amounts due to
        the PBGC in respect of Pension Plan liabilities, (c) to repay all Obligations (as
        such term is defined in the Boeing Loan Agreement) outstanding under the Boeing
        Loan Agreement, (d) to pay the Patriarch Escrow Amount to the Escrow Agent,
        (e) to pay transaction fees and expenses in respect of this Agreement and
        transactions contemplated hereby and (f) to finance ongoing working capital,
        capital expenditure and general corporate needs of the Borrower and its
        Subsidiaries. No portion of the proceeds of any Borrowing shall be used by the
        Borrower or any of its Subsidiaries in any manner that might cause such
        Borrowing or the application of such proceeds to violate Regulation T, Regulation
        U or Regulation X of the Board of Governors of the Federal Reserve System or
        any other regulation thereof or to violate the Exchange Act, in each case as in
        effect on the date or dates of such Borrowing and such use of proceeds.

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                     (b)    All proceeds of the Term C Loans shall be used solely for payment
             of a Class C Trigger Amount and shall not be used for any other purpose.

             Section 2.7       Register; Notes.

                        (a)     Register. Agent shall maintain, as the Borrower's agent, at
               Agent's Principal Office a register for the recordation of the names and
               addresses of each Lender and the Term A Loan(s), Term B Loan and Term C
               Loan owed to each Lender (the "Register"). The Register shall be available for
               inspection by the Borrower or any Lender at any reasonable time and from time
               to time upon reasonable prior notice. Agent shall record in the Register the
               fees, interest and the outstanding balance of the Loans, and each repayment or
               prepayment in respect of the principal amount of and interest, fees and other
               amounts with respect to the Loans, and any such recordation shall be conclusive
               and binding on the Borrower and each Lender, absent manifest error; provided,
               failure to make any such recordation, or any error in such recordation, shall not
               affect the principal outstanding amount of the Loans, or the Borrower's
               Obligations in respect thereto. No transfer of the Loans and/or any interests
               therein shall be effective until such transfer is recorded in the Register.

                      (b)      Notes. If so requested by any Lender by written notice to the·
               Borrower (with a copy to Agent) at least two Business Days prior to the Closing
               Date, or at any time thereafter, Borrower shall execute and deliver to such
               Lender (and/or, if applicable and if so specified in such notice, to any Person
               who is an assignee of such Lender pursuant to Section 10.4) on the Closing
               Date (or, if such request is delivered after the Closing Date, promptly after the
               Borrower's receipt of such request) a promissory note, in the form of either
               Exhibit C-1 , Exhibit C-2 or Exhibit C-3 (a "Term A Note", a "Term B Note"
               or "Term C Note", respectively), to evidence such Lender's Term A Loan(s),
               Te1m B Loan or Term C Loan, as the case may be.

            Section 2.8        Interest on Loans.

                      (a)     Applicable Rates. Except as otherwise set forth herein, the
               Loans shall bear interest on the unpaid principal amount thereof from the date
               made through repayment (whether by acceleration or otherwise) on the unpaid
               principal amount thereof at a rate per annum equal to LIBOR plus the
               Applicable Margin.

                    (b)     Calculation of Interest Rates. Interest payable pursuant to this
            Section 2.8 shall be computed on the basis of a 360-day year for the actual number
            of days elapsed in the period during which it accrues. In computing interest on
            any Loan, the date of the making of such Loan or the first day of an interest period
            applicable to such Loan shall be included, and the date of payment of such Loan
(           or the expiration date of an interest period applicable to such Loan shall be
            excluded; provided, if such Loan is repaid on the same day on which itis made,


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         one day's interest shall be paid on such Loan.

                 (c)    Payment of Interest. All cash interest on the Loans shall be
         payable in arrears on (i) the first day of each calendar month, (ii) any date of any
         prepayment of the Loans, whether voluntary or mandatory, to the extent accrued
         on the amount being prepaid, and (iii) the Maturity Date, including final maturity.

                  (d)    Default Interest. Upon the occurrence and during the continuance
         of an Event of Default described in Section 8.1, the principal amount of the Loans
         and, to the extent permitted by applicable law, any interest payments on the Loans
         or any fees or other amounts owed hereunder not paid when due, in each case
         whether at stated maturity, by notice of prepayment, by acceleration or otherwise,
         shall thereafter bear interest (including, without limitation, interest, as provided in
         this Agreement, accruing after the filing of a petition initiating any insolvency
         proceedings, whether or not such interest accrues or is recoverable against the
         Borrower after the filing of such petition for purposes of the Bankruptcy Code or
         is an allowed claim in such proceeding) payable on demand at a rate that is 2.0%
         per annum in excess of the interest rate otherwise payable hereunder with respect
         to the Loans. Payment or acceptance of the increased rates of interest provided for
         in this Section 2.8 is not a permitted alternative to timely payment and shall not
         constitute a waiver of any Event of Default or otherwise prejudice or limit any
         rights or remedies of Agent or any Lender.

                 (e)    Changed Circumstances. If the introduction of or any change in or
        in the interpretation of (in each case, after the date hereof) any law or regulation
        applicable to any Lender makes it unlawful, or any Governmental Body asserts,
        after the date hereof, that it is unlawful, for any Lender to perform its obligations
        hereunder to maintain the Loans at LIBOR, such Lender shall notify the Agent of
        such event and the Agent shall notify the Borrower of such event, and the right of
        the Borrower to apply LIBOR to any subsequent Interest Period shall be
        suspended until the Agent shall notify the Borrower that the circumstances
        causing such suspension no longer exist, and the Borrower shall forthwith prepay
        in full the Loans then outstanding, and shall pay all interest accrued thereon
        through the date of such prepayment, unless the Borrower, within three (3)
        Business Days after such notice from the Agent, requests that the interest rate
        applicable to the Loans be converted from LIBOR to the Base Rate as in effect
        from time to time; provided, that if the date of such repayment or proposed
        conversion is not the last day of an Interest Period applicable to the Loans, the
        Borrower shall also pay any amount due pursuant to Section 7.5.

        Section 2.9        Fees.

               (a)    The Borrower agrees to pay to Agent a fee (the "Agent Fee") in an
        amount equal to $75,000 on the Closing Date and on each anniversary thereof on
        terms and conditions separately agreed upon by the Borrower and Agent.



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                  (b)    The Borrower agrees to pay to Agent on the Closing Date a non-
         refundable fee (the "Structuring Fee") in an amount equal to 2.0% times the sum
         of (i) the aggregate Term A Commitments of all Lenders plus (ii) the Discounted
         Purchase Price. Such Structuring Fee shall be earned by the Agent on the date
         such fee is paid by the Borrower.

        Section 2.] 0 Repayment. The Loans shall be due and payable, and the Borrower
shall be required to repay all of the Obligations (including, without limitation, all accrued
and unpaid principal and interest on the principal amounts of the Loans) on the Maturity
Date.

         Section 2.11      Optional Prepayments.

                    (a)     Optional Prepavments. At any time and from time to time the
            Borrower may prepay, without premium or penalty, the Loans on any Business
            Day in whole or in part, in an aggregate minimum amount of $100,000 and in
            multiples of $50,000 above such amount (or such lesser amount as shall
            constitute the entire amount of the Loans then outstanding). The Loans shall be
            prepaid according to each Lender's Pro Rata Share.

                   (b)     Notice of Optional Prepayment. All such prepayments shall be
           made on a Business Day and upon not less than one Business Day's prior
           written or telephonic notice, in each case given to Agent by 12:00 p.m. (New
           York City time) on the date required and, if given by telephone, promptly
           confirmed in writing to Agent (and the Agent will promptly transmit such
           telephonic or original notice for the Loan by facsimile or telephone to each
           Lender). Upon the giving of any such notice, the principal amount of the Term
           A Loan and/or the Term B Loan specified in such notice shalJ become due and
           payable on the prepayment date specified therein.

         Section 2.12      Mandatory Prepayments; Mandatory Commitment Reductions.

                (a)     Asset Sales. No later than the first Business Day following the
        date of receipt by the Borrower or any of its Subsidiaries of any Net Asset Sale
        Proceeds, the Borrower shaJl prepay the Loans in an aggregate amount equal to
        such Net Asset Sale Proceeds, which prepayment shall be applied to permanently
        repay and reduce the Loans as set forth in Section 2.13; provided (i) so long as no
        Default or Event of Default shall have occurred and be continuing, and (ii) to the
        extent that aggregate Net Asset Sale Proceeds do not exceed $100,000 per Fiscal
        Year, Borrower shall have the option, directly or through one or more of its
        Subsidiaries, to invest Net Asset Sale Proceeds within ninety (90) days ofreceipt
        thereof in productive assets of the general type used in the business of the
        Borrower and its Subsidiaries.

               (b)    Insurance/Condemnation Proceeds. No later than the first Business
        Day following the date of receipt by the Borrower or any of its Subsidiaries, or


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         Agent as loss payee, of any Net Insurance/Condemnation Proceeds, the Borrower
         shall prepay the Loans in an aggregate amount equal to such Net
         Insurance/Condemnation Proceeds, which prepayment shall be applied to
         permanently repay and reduce the Loans as set forth in Section 2.] 3; provided (i)
         so long as no Default or Event of Default shall have occurred and be continuing,
         and (ii) to the extent that aggregate Net Insurance/Condemnation Proceeds do not
         exceed $100,000 per Fiscal Year the Borrower shall have the option, directly or
         through one or more of its Subsidiaries to invest such Net
         Insurance/Condemnation Proceeds within ninety (90) days of receipt thereof in
         assets of the general type used in the business of the Borrower and its
         Subsidiaries, which investment may include the repair, restoration or replacement
         of the applicable assets thereof; and provided, further, that at any time that a
         Default or an Event of Default has occurred and is continuing, the Agent shall
         make, settle, and adjust all claims under the Borrower's or such Subsidiary's
         policies of insurance and make all determinations and decisions with respect to
         such policies of insurance.

                 (c)     Excess Over Commitment. If at any time the aggregate
         outstanding principal amount of the Term A Loans exceeds the Term A
         Commitments, then the Borrower shall immediately prepay the Term A Loans in
         the amount necessary to eliminate such excess, together with accrued and unpaid
         interest thereon as herein provided, without any reduction of the Term A
         Commitments.

                 (c)    ARH Program Credit. If at any time MDHC obtains and enters
         into a Prime Contract (as such term is defined in the Cooperation Agreement)
         with the United States Army for the ARR Program and pays to Borrower an
         amount equal to $10,000,000 pursuant to the terms of the Boeing Loan Agreement
         and the Boeing Tem1ination Agreement, then Borrower shall immediately apply
         the $10,000,000 to the repayment of the Term A Loans.

                 (d)     Prepayment Certificate. Concurrently with any prepayment of the
        Loans pursuant to Section 2.12(a) or Section 2.12(b), the Borrower shall deliver to
        Agent a certificate of an Authorized Officer demonstrating the calculation of the
        amount of the applicable net proceeds. In the event that the Borrower shall
        subsequently determine that the actual amount received exceeded the amount set
        forth in such certificate, the Borrower shall promptly make an additional
        prepayment of the Loans in accordance with Section 2.13 and in an amount equal
        to such excess, and the Borrower shall concurrently therewith deliver to Agent a
        certificate of an Authorized Officer demonstrating the derivation of such excess.

       Section 2.13 Application of Mandatory Prepayments. Absent a Default or an
Event of Default, any mandatory prepayment of the Loans pursuant to Section 2.12 (a) or
Section 2. l 2(b) shall be applied first, to prepay unpaid amounts under the Term B Loans
and second, after the payment in full of the Term B Loans, to prepay the Term A Loans.


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            Section 2.14     General Provisions Regarding Payments.

                       (a)     Pavments. All payments by the Borrower of principal, interest,
               fees and other Obligations shall be made in Dollars in same day funds, without
               defense, setoff or counterclaim, free of any restriction or condition, and
               delivered to Agent not later than 12:00 p.m. (New York City time) on the date
               due at the Agent's Principal Office for the account of Lenders. All funds
               received by Agent after that time on such due date shall be deemed to have
               been paid by the Borrower on the next succeeding Business Day.

                       (b)    Non-Conforming Payments. The Agent shall deem any payment
              by or on behalf of the Borrower that is not made in same day funds prior to
              12:00 p.m. (New York City time) to be a non-conforming payment. Any such
              payment shall not be deemed to have been received by Agent until the later of
              (i) the time such funds become available funds and (ii) the applicable next
              Business Day. Agent shall give prompt telephonic notice (confirmed in
              writing) to the Borrower and each applicable Lender if any payment is non-
              conforming. To the extent any non-conforming payment may be deemed to
              have been received on a date after the date such payment was due hereunder
              pursuant to the provisions of the prior sentence, such failure of such payment to
              have been made when due may constitute or become a Default or Event of ·
              Default to the extent so provided under the terms of Section 8.1. Interest shall
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              continue to accrue on any principal as to which a non-conforming payment is
              made until such funds become available funds (but in no event less than the
              period from the date of such payment to the next succeeding applicable
              Business Day) at the rate otherwise applicable hereunder (including, if
              applicable, pursuant to Section 2.8) from the date such amount was due and
              payable until the date such amount is paid in full.

                      (c)     Payments to Include Accrued Interest. All payments in respect
              of the principal amount of the Loans (whether mandatory or optional) shall
              include payment of accrued interest on the principal amount being repaid or
              prepaid, and all such payments (and, in any event, any payments in respect of
              the Loans on a date when interest is due and payable with respect to the Loans)
              shall be applied to the payment of interest before application to principal.

                      (d)      Distributions by Agent. Agent shall promptly distribute to each
              Lender via facsimile or electronic correspondence, such Lender's applicable Pro
              Rata Share of all payments and prepayments of principal and interest due
              hereunder, together with all other amounts due thereto, including, without
              limitation, all fees payable with respect thereto, to the extent received by Agent.

                      (e)     Business Davs. Whenever any payment to be made hereunder
              shall be stated to be due on a day that is not a Business Day, such payment shall
              be made on the next succeeding Business Day (subject to the definition of



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            Interest Period) and such extension of time shall be included in the computation
            of the payment of interest hereunder.

        Section 2.15 Ratable Sharing. If at any time and from time to time there is more
than one Lender, Lenders hereby agree among themselves that, except as otherwise
provided in the Collateral Documents with respect to amounts realized from the exercise
of rights with respect to Liens on the Collateral, if any of them shall, whether by
voluntary payment (other than a voluntary prepayment of the Loans made and applied in
accordance with the terms hereof), through the exercise of any right of setoff or banker's
lien, by counterclaim or cross-action or by the enforcement of any right under the Credit
Documents or otherwise, or as adequate protection of a deposit treated as cash collateral
under the Bankruptcy Code, receive payment or reduction of a proportion of the aggregate
amount of principal, interest, fees and other amounts then due and owing to such Lender
hereunder or under the other Credit Documents ( collectively, the "Aizgregate Amounts
Due" to such Lender) which is greater than the proportion received by any other Lender in
respect of the Aggregate Amounts Due to such other Lender, then the Lender receiving
such proportionately greater payment shall (a) notify Agent and each other Lender of the
receipt of such payment and (b) apply a portion of such payment to purchase
participations (which it shall be deemed to have purchased from each seller of a
participation simultaneously upon the receipt by such seller of its portion of such
payment) in the Aggregate Amounts Due to the other Lenders so that all such recoveries
of Aggregate Amounts Due shall be shared by all Lenders in proportion to the Aggregate
Amounts Due to them; provided, if all or part of such proportionately greater payment
received by such purchasing Lender is thereafter recovered from such Lender upon the
bankruptcy or reorganization of the Borrower or otherwise, those purchases shall be
rescinded and the purchase prices paid for such participations shall be returned to such
purchasing Lender ratably to the extent of such recovery, but without interest. The
Borrower expressly consents to the foregoing arrangement and agrees that any holder of a
participation so purchased may exercise any and all rights of banker's lien, setoff or
counterclaim with respect to any and al] monies owing by the Borrower to that holder
with respect thereto as fully as if that holder were owed the amount of the participation
held by that holder.

        Section 2.16 Termination or Reduction of Commitments. Unless previously
terminated, the Term A Commitments and the Term C Commitments will terminate on
the Maturity Date. Upon the making of any Term A Loan, each Lender's Term A
Commitments shall be permanently reduced by an amount equal to the principal amount
of the Term A Loan made by such Lender. Upon the making by any Lender of any Term
C Loan in any amount, and regardless of whether such amount is less than such Lender's
Term C Commitment, such Lender's entire Term C Commitment shall terminate.

        Section 2.17 Additional Consideration. As additional consideration for
entering into this Agreement and consummating the transactions contemplated hereby,
the Lenders shall receive in accordance with Section 3 .1 (s) hereof common shares of the
Borrower in an amount equal to 51.0% of the fully diluted equity interests of the
Borrower as of the Closing Date.

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                                          ARTICLE III
                                       Conditions Precedent

        Section 3 .1  Conditions Precedent; Closing Date. The obligation of any Lender
to make any Loan and the other financial accommodations described herein on the
Closing Date is subject to the satisfaction, or waiver in accordance with Section 10.1, of
the following conditions on or before the Closing Date:

                  (a)      Secretary's Certificate. The Lenders shall have received a
         certificate of the secretary or assistant secretary, the manager or the genera]
         partner, as the case may be, of each Credit Party, each substantially in the form of
         Exhibit 3. l (a), with respect to (i) the articles of incorporation or certificate of
         formation, as the case may be, of such Credit Party, (ii) the bylaws, operating
         agreement or limited partnership agreement, as the case may be, of such Credit
         Party, (iii) the resolutions of the board of directors, manager or genera] partner, as
         the case may be, of such Credit Party approving each Credit Document to which
         such Credit Party is a party and the other documents to be delivered by such
         Credit Party under the Credit Documents and the performance of the obligations
         of such Credit Party thereunder, and (iv) the names and true signatures of the
         officers of such Credit Party or such other persons authorized to sign each Credit
         Document to which such Credit Party is a party and the other documents to be '
         delivered by it under the Credit Documents.

               (b)     Organizational and Capital Structure. On the Closing Date, the
         Borrower has no Subsidiaries.

                 (c)     Good Standing Certificates. The Lenders shall have received a
         good standing certificate from the applicable Governmental Body of each Credit
         Party's jurisdiction of incorporation, organization or formation and in each
         jurisdiction in which it is qualified as a foreign corporation or other entity to do
         business, each dated a recent date prior to the Closing Date.

                (d)     Financials. The Lenders shall have received the Financials
         described in Section 4.1 (d).

                 (e)     Evidence oflnsurance. Lenders shall have received a certificate
         from the Borrower's insurance broker or other evidence satisfactory to it that all
         insurance required to be maintained pursuant to Section 5. 1(h) is in full force and
         effect and that Agent, for the benefit of Lenders and Agent, has been named as
         additional insured and loss payee thereunder.

                (f)    Intercreditor Agreement. The Agent shall have received a fully
         executed copy of the Intercreditor Agreement among the Borrower, Agent and
         Wachovia, in form and substance satisfactory to the Agent.

                  (g)       Closing Date Certificate. The Agent shall have received an


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         originally executed Closing Date Certificate, in the form of Exhibit 3. l(g) (the
         "Closing Date Certificate"), from each Borrower, together with any attachments
         thereto.

                  (h)     UCC Financing Statements. The Agent shall have received UCC
         financing statements duly authorized by each applicable Credit Party with respect
         to all personal, real and mixed property Collateral of such Credit Party, for filing
         in all jurisdictions as may be necessary or, in the opinion of the Lenders,
         desirable, to perfect the security interests created in such Collateral pursuant to the
         Collateral Documents.

                  (i)     Collateral Agreements. The Lenders shall have received duly
         executed original copies of the Security Agreement, the Trademark Collateral
         Security Agreement and the Patent Collateral Security Agreement, in each case, in
         the form attached hereto and duly executed and delivered by each party thereto.
         The financing statements and other Credit Documents related to perfection of the
         security interest of the Agent and the Lenders in the Collateral shall have been
         filed in all appropriate jurisdictions.

                 G)      Security Collateral. The Agent shall have received the certificates,
         instruments and promissory notes (which certificates, instruments and promissory
         notes shall be accompanied by instruments of transfer or assignment duly
         endorsed in blank and otherwise in form and substance satisfactory to Agent and
         Lenders) representing or evidencing all security collateral pledged pursuant to the
         Collateral Documents.

                 (k)     Other Actions to Perfect Security Interests. The Lenders shall have
         received evidence that each Credit Party shall have taken or caused to be taken
         any other action, executed and delivered or caused to be executed and delivered
         any other agreement, document and instrument, and made or caused to be made
         any other filing and recording (other than as set forth herein) reasonably required
         by the Lenders.

               (l)     Opinion of Counsel. The Agent shall have received an originally
        executed copy of the favorable written opinion of Jennings, Strauss & Salmon
        PLC, counsel for the Credit Parties, in the form of Exhibit 3.1(1), and as to such
        other matters as Agent or any Lender may reasonably request, dated as of the
        Closing Date, and otherwise in form and substance satisfactory to Agent and
        Lenders.

                (m)     Other Information. The Agent and Lenders shall have received any
        other financial or non financial information regarding the Borrower and its
        Subsidiaries as the Agent or any Lender may reasonably request.

                (n)    Proceedings. AH proceedings taken or to be taken in connection
        with the transactions contemplated by this Agreement shall be satisfactory to the


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         Agent and Lenders and their counsel.

                 (o)    Fees and Expenses. The Borrower shall have paid all fees and
         expenses (including attorneys' fees) and out of pocket expenses of the Lenders
         and the Agent incurred in connection with this Agreement and the other Credit
         Documents.

                 (p)    Consents. The Lenders shall have received such Consents and
         other information, approvals, opinions or documents reasonably requested by the
         Agent or the Lenders in connection with the making of any Loan, on the Closing
         Date, including, without limitation, the approvals and consents of such third-party
         vendors of the Borrower as may be required under the Cooperation Agreement.

                 (q)    Use of Proceeds. The Borrower shall have confirmed in \Vriting
         that the proceeds of the Loans shall be used only in accordance with the
         provisions of Section 2.6.

                (r)    No Material Adverse Effect. No Material Adverse Effect shall
         have occurred after giving effect to the Loans.

                 (s)      Equity. The Borrower shall have (i) taken all actions necessary to
         ensure that the common shares of the Borrower issued to the Lenders pursuant to
         Section 2.17 hereof are duly authorized and validly issued and (ii) delivered to
         Lenders common shares of the Borrower in an aggregate amount equa] to 51.0%
         of the fully diluted equity interests of the Borrower as of the Closing Date. The
         Agent shalJ have received evidence that of the remaining 49.0% of the common
         shares of the Borrower, 12.5% of such shares is held by MD Helicopters B.V.,
         12.5% of such shares is held by ABN AMRO Participaties, N.V and 24.0% of
         such shares is held by the Agent pursuant to the terms of the Escrow Agreement.

                 (t)   Shareholders' Agreement. The Agent and Lenders shall have
        received a duly executed original copy of the Shareholders' Agreement, in form
        and substance satisfactory to the Lenders, and all actions required thereunder shall
        have been taken on or prior to the Closing Date in accordance with the terms
        thereof.

                 (u)       Wachovia Credit Facility.

                         (i)      The Borrower shall have amended the Existing Wachovia
                 Facility to limit the maximum revolving commitment thereunder to a
                 maximum aggregate amount of $20,000,000 and on terms and conditions
                 satisfactory to the Agent and Lenders (such facility as so amended, the
                 "New Wachovia Facility"). All conditions precedent to effectiveness
                 under the New Wachovia Facility shall be satisfied or waived in
                 accordance with the terms thereof on the Closing Date.



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                         (ii)    The Supplemental Revolving Loans (as defined in the
                 Existing Wachovia Facility) outstanding under the Existing Wachovia
                 Facility shall have been prepaid in full, and the Supplemental Revolving
                 Loan Participation Agreement, dated as of June 10, 2005, between
                 Wachovia Capital Finance Corporation (Western) (f/k/a Congress
                 Financial Corporation (Western)) and Zohar II 2005-1, Limited, shall have
                 terminated in accordance with its terms.

                (v)     Due Diligence. Nothing shall have come to the attention of the
        Agent or Lenders during the course of their due diligence investigation to lead
        them to believe (i) that, following the making of the Loans hereunder, the
        Borrower and its Subsidiaries would not have good and marketable title to all
        material assets of the Borrower and its Subsidiaries, (ii) that the making of the
        Loans will have a Material Adverse Effect or (iii) that the value of the Collateral
        has materially diminished; without limiting the generality of the foregoing, the
        Agent and Lenders shall have been given such access to the management, records,
        books of account, contracts and properties of the Borrower and its Subsidiaries as
        they shall have reasonably requested.

                (w)     Existing Subordinated Debt. The Existing Subordinated Debt
        (other than the Atradius Subordinated Debt) shall have been purchased by Lenders
        and restructured into Term B Loans pursuant to Section 2.2 hereof. Agent shall
        have received copies of all notes or other physical instruments, if any, evidencing
        the Existing Subordinated Debt (other than the Atradius Subordinated Debt), each
        marked "Cancelled" or "Paid in Full".

                (x)    Restructuring. The Agent shall received an original copy of the
        Restructuring Agreement, duly executed by each party thereto and in form and
        substance satisfactory to Agent and Lenders, and all actions required thereunder
        shall have been taken, or been waived, on or prior to the Closing Date in
        accordance with the terms thereof.

                (y)    Leases. The Borrower shall have consummated the renegotiation
        of the terms and conditions of its real property and building leases, including,
        without limitation, the leases of real property and buildings located in Mesa,
        Arizona, in each case on terms satisfactory to Agent and Lenders.

                (z)      Subordinated Debt Amount. The Lenders shall have agreed to, and
        validated to its satisfaction, the amounts used by the Borrower in the calculation
        of the Subordinated Debt Amount.

                 (aa)    Evidence ofNo Enforcement ofIRS Lien. The Agent shall have
        received a copy of the letter from the United States Internal Revenue Service
        stating that it shall not enforce the Lien on the assets of the Borrower during the
        remainder of the tax year for 2005.



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                 (bb) D&O Insurance. The Agent shall have received certified copies of
         directors and officers insurance covering each director and officer of the
         Borrower, in such amounts and on such terms and conditions satisfactory to
         Agent.

                  (cc)   Termination of Boeing Obligations. The Agent shall have received
         (i) a fully executed copy of the Boeing Termination Agreement, (ii) copies of the
         UCC-3 termination statements to be filed on the Closing Date against all liens and
         security interests granted in connection with the Boeing Credit Agreement and all
         documents related thereto (with file-stamped copies to follow promptly thereafter)
         and/or written authorization to file all such termination statements and (iii) an
         original executed release of MDHC's Lien and security interest on the Aircraft of
         the Borrower pursuant to a mortgage recordation (an "Aircraft Release") suitable
         for recordation with the FAA, in form and substance satisfactory to Agent and
         Lenders.

                 (dd) Aircraft Mortgage. The Agent shall have received (i) an Aircraft
         Mortgage, in fonn and substance satisfactory to Agent and Lenders, with respect
         to all Aircraft for which an Aircraft Registration exists, duly authorized, executed
         and delivered by the Borrower and (ii) evidence, in form and substance
         satisfactory to Agent and Lenders, that an Aircraft Mortgage Recordation has been
         effected with the FAA with respect to each such Aircraft Mortgage.

               (ee)     Type Certificates. The Agent shal1 have received (i) copies of each
         Type Certificate of the Borrower.

                 (ff)    Dismissal of Replevin Action. The Agent shall have received (i) a
         copy of the Stipulation for Dismissal with respect to the Replevin Action between
         the Borrower and Wachovia and (ii) evidence of filing with the Superior Court of
         the State of Arizona for the County of Maricopa an Order for Stipulation with
         respect to the Replevin Action, to provide for the dismissal without prejudice of
         the Replevin Action.

                (gg)    Initial Borrowing. The Agent shal1 have received a Funding Notice
        in respect of the initial Borrowing to be made on the Closing Date.

        Section 3.2   Conditions Subsequent. No later than 10 days after the Closing
Date, the Borrower shall satisfy the following conditions:

               (a)     Consent Agreements. The Agent and Lenders shall have received
        from each of Kaman Aerospace Corporation and Turkish Aerospace Industries a
        consent agreement allowing Agent and Lenders access to Equipment located on
        such Person's property, each such agreement in form and substance satisfactory to
        the Lenders.

                 (b)       Collateral Assignment of Lease. The Agent and Lenders shall


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         have received either or both, at the sole discretion of the Agent and Lenders, of (i)
         an original of an Acknowledgment and Consent to the Collateral Assignment of
         Sublease, duly authorized, executed and delivered by all Persons who need to
         consent to the Collateral Assignment of Sublease and (ii) a Leasehold Deed of
         Trust and Security Agreement with respect to the Borrower's sublease of the
         premises of the Borrower located in Mesa, Arizona, in each case, in favor of
         Agent, for the benefit of the Lenders.

                 (c)    Wachovia Facility. On or before September 30, 2005, the New
         Wachovia Facility shall be amended and restated to, among other things, include
         financial covenants in form and substance satisfactory to the Lenders.

                (d)     Financial Covenants. On or before September 30, 2005, the
         Borrower and the Lenders shall amend this Agreement to, among other things,
         include financial covenants in form and substance satisfactory to the Lenders.

                 (e)      FAA Notices. The Agent shall have a copy of, and evidence of
         delivery of, a notice from Borrower to the FAA, in form and substance
         satisfactory to the Agent and Lenders, informing the FAA of the Agent's Lien
         upon and security interest upon, for the benefit of the Lenders, each Type
         Certificate.

                 (f)    Escrow Agreement. The Agent and Lenders shall have entered
         into the Escrow Agreement, in form and substance satisfactory to Agent and
         Lenders, with the other parties thereto. An initial Escrow Amount equal to the
         sum of$12,734,188.00 plus €9,500,000.00 shall have been deposited in the
         Escrow Account in accordance with the terms and provisions of the Escrow
         Agreement.

                                       ARTICLE IV
                               Representations and Warranties

       Section 4.1     Representations and Warranties. In order to induce the Agent and
the Lenders to enter into this Agreement and the Borrowing to be made hereby on the
Closing Date, each Credit Party hereby represents and warrants (to the extent such
representation or warranty is applicable to such Credit Party) to the Agent and each
Lender as follows on the Closing Date:

                (a)     Corporate Status; Corporate Authorization. The Borrower and
        each of its Subsidiaries and each other Credit Party is duly organized, validly
        existing, and in good standing under the laws of its jurisdiction of organization
        and is duly qualified and in good standing in every other jurisdiction where it is
        doing business except where the failure to so qualify does not have a Material
        Adverse Effect on it, and the execution, delivery and performance by the
        Borrower and each of its Subsidiaries and each other Credit Party of the Credit
        Documents (i) are within its respective authority, (ii) have been duly authorized,


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             and (iii) do not conflict with or contravene its respective corporate governance
             documents. The execution, delivery, performance of their respective obligations,
             and exercise of their respective rights under the Credit Documents by the
             Borrower, each of its Subsidiaries and each other Credit Party thereto, including,
             without limitation, the making of the Loans under this Agreement, (i) do not
             require any Consents that have not been obtained and (ii) are not and will not be
             in conflict with or prohibited or prevented by (A) any Regulation or (B) any
             corporate governance document, corporate minute or resolution or (C) any
             instrument, agreement or provision thereof, in each case binding on any of them
             or affecting any of their property;

                     (b)     Execution and Binding Effect. Upon execution and delivery
             thereof, each Credit Document shall constitute the legal, valid and binding
             obligation of the Borrower and each of its Subsidiaries and each other Credit Party
             which is a party thereto, enforceable in accordance with its terms, except as the
             enforceability thereof may be limited by bankruptcy, insolvency or other similar
             laws relating to the enforcement of creditors' rights generally and by general
             equitable principles;

                      (c)      Properties.

                              (i)    The Borrower, each of its Subsidiaries and each other
(                     Credit Party has good and marketable title to all material real property
                      owned or purported to be owned by it, in each case free of all Liens other
                      than the Permitted Liens.

                              (ii)   The Borrower, each of its Subsidiaries and each other
                     Credit Party is, or when leases creating Leasehold Properties are executed
                     will be, lawfully possessed of a valid and subsisting leasehold estate in and
                     to its Leasehold Properties which it purports to lease free and clear of all
                     Liens other than the Permitted Liens.

                              (iii)   The Borrower, each of its Subsidiaries and each other
                     Credit Party enjoys, and will enjoy, peaceful and undisturbed possession
                     of, or a license to use, all property (subject only to the Permitted Liens)
                     that are necessary for their respective businesses.

                              (iv)    Set forth on Schedule 4.l(c) is a list, as of the date hereof,
                     of all real property held, or, to the Knowledge of the Borrower, planned to
                     be held, by the Borrower and its Subsidiaries, indicating in each case
                     whether the respective property is (or is expected to be) owned or leased,
                     the identity of the owner or lessee, the location of the respective property,
                     the approximate value of such property, in the case ofreal property owned
                     and, in the case of property not yet owned or leased, the estimated date of
                     acquisition or leasing (if known to the Borrower on the date hereof).



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                        (v)     The Bonower and each of its Subsidiaries owns, or is
                licensed or otherwise has the right to use the Intellectual Property
                necessary to own and operate its properties and to carry on its business as
                presently conducted and presently planned to be conducted without
                conflict with the rights of others, except for such instances of non-
                compliance that, individually or in the aggregate, could not reasonably be
                expected to have a Material Adverse Effect.

                (d)     Financial Statements; Financial Plan. The Borrower has provided
        to the Agent and the Lenders (i) its audited Financials as of December 31, 2002
        for the Fiscal Year then ended, (ii) unaudited management-prepared Financials
        dated as of December 31, 2003 for the Fiscal Year then ended, (iii) unaudited
        management-prepared Financials dated as of December 31, 2003 for the Fiscal
        Year then ended and (iv) unaudited management-prepared Financials dated as of
        May 31, 2005 for the five (5) month period then ended, and such Financials are
        complete and conect and fairly present in all material respects the position of the
        Borrower and its Subsidiaries as at such dates and for such periods in accordance
        with GAAP consistently applied, except for the absence of footnotes and year-end
        audit adjustments, and (iii) the Financial Plan.

               (e)    Absence of Material Adverse Effect. Since May 31, 2005, there
        has been no event, change or circumstance of any kind with respect to the
        Borrower or any of its Subsidiaries which would have a Material Adverse Effect.

                (f)     Litigation. Except as set forth on Schedule 4.1 (f), there are no
        legal or other proceedings or investigations pending or, to the Knowledge of the
        Borrower, threatened against the Borrower or any of its Subsidiaries or any other
        Credit Party before any court, tribunal or regulatory authority which would, if
        adversely determined, alone or together, have a Material Adverse Effect.

                (g)      Governmental Approvals and Filings. No approval, order, consent,
        authorization, certificate, license, permit or validation of, or exemption or other
        action by, or filing, recording or registration with, or notice to, any Governmental
        Body (collectively, "Governmental Action") is or will be necessary in connection
        with the execution and delivery of this Agreement or any other Credit Document,
        consummation by the Credit Parties of the transactions herein or therein
        contemplated, or performance of or compliance with the terms and conditions
        hereof or thereof, other than the filings and recordations contemplated by the
        Collateral Documents. Neither the Borrower nor any of its Subsidiaries is subject
        to regulation under the Public Utility Holding Company Act of 1935, the Federal
        Power Act, the Interstate Commerce Act or the Investment Company Act of 1940
        or to any federal or state statute or regulation limiting the Borrower's ability to
        incur Indebtedness for money borrowed. Neither the Borrower nor any of its
        Subsidiaries is an "investment company" or a company "controlled" by an
        "investment company", with the meaning of the Investment Company Act of
        1940, as amended.

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                     (h)      Absence of Conflicts. To the Knowledge of the Borrower, the
             execution and delivery by each Credit Party of this Agreement and each other
             Credit Document to which it is a party and performance by it hereunder and
             thereunder will not violate any law (including, without limitation, Regulations T,
             U and X of the Federal Reserve Board) and will not conflict with or result in a
             breach of any order, writ, injunction, resolution, decree or other similar document
             or instrument of any court or Governmental Body or its certificate of
             incorporation or by-laws or similar constituent documents or create (with or
             without the giving of notice or lapse of time, or both) a default under or breach of
             any material agreement, bond, note or indenture, in each case to which it is a party
             (by successor in interest or otherwise), or by which it is bound or any material
             portion of its properties or assets is affected, or, except under the Collateral
             Documents, result in the imposition of any Lien (other than Permitted Liens) of
             any nature whatsoever upon any of the properties or assets owned by or used in
             connection with the business of the Borrower and their Subsidiaries.

                     (i)      Collateral. From and after the execution and delivery of the
             Collateral Documents and the filing of the documents thereby required, the Agent,
             on behalf of the Lenders, shall have a first-priority perfected security interest in
             and to all of the Collateral, free and clear of any Liens other than the Permitted,
             Liens, and entitled to priority under applicable law, with no financing statements,
(            chattel mortgages, real estate mortgages or similar filings on record anywhere
             other than such filings in connection with this Agreement, the Collateral
             Documents or the Permitted Liens. Each of the representations and warranties
             made by each Credit Party in each Collateral Document to which it is a party is
             true and correct in all material respects as of each date made or deemed made.

                     (i)     Partnerships, Etc. Except as set forth on Schedule 4.1 (j), neither
             the Borrower nor any of its Subsidiaries is a partner (general or limited) of any
             partnership, is a party to any Joint Venture or owns (beneficially or of record) any
             equity or similar interest in any similar Person (including, without limitation, any
             interest pursuant to which the Borrower or any of its Subsidiaries has or may in
             any circumstance have an obligation to make capital contributions to, or be
             generalJy liable for or on account of the liabilities, acts or omissions of such other
             Person).

                     (k)    Fiscal Year. Each Fiscal Year of the Borrower and each of its
             Subsidiaries begins on January 1 of each calendar year and ends on December 31
             of each calendar year.

                    (1)         Subsidiaries. On the Closing Date, the Borrower has no
             Subsidiaries.

                     (m)     Capitalization. All outstanding shares of Capital Stock of the
             Borrower are duly authorized, validly issued, fully paid and nonassessable and are
             free of any preemptive rights and, except as set forth on Schedule 4.1 (m) and

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         pursuant to the Collateral Documents, are owned, directly or indirectly,
         beneficially and ofrecord by the parties listed on Schedule 4. l(m) in the amounts
         set forth on such schedule, free and clear of all Liens and any options, warrants
         and other rights. Except as described on Schedule 4.1 (m), as of the Closing Date,
         the Borrower does not have outstanding any stock or securities convertible into or
         exchangeable for any shares of its Capital Stock, nor are there any preemptive or
         similar rights to subscribe for or to purchase, or any other rights to subscribe for
         or to purchase, or any options for the purchase of, or any agreements providing for
         the issuance (contingent or otherwise) of, or any calls, commitments, or claims of
         any character relating to, any Capital Stock or any stock or securities convertible
         into or exchangeable for any Capital Stock. Except as set forth on Schedule
         4. l(m), as of the Closing Date, the Borrower is not subject to any obligation
         (contingent or otherwise) to repurchase or otherwise acquire or retire any shares of
         its Capital Stock (other than obligations to repurchase Capital Stock held by any
         employee or officer after the termination of such employee's or officer's
         employment) or to register any shares of its Capital Stock, and there are no
         agreements restricting the transfer of any shares of the Borrower's Capital Stock.

                 (n)     Material Misstatements and Omissions. There are no facts
         pertaining to the Borrower or any of its Subsidiaries their assets or properties or
         their businesses which, individually or in the aggregate, could reasonably be
         expected to have a Material Adverse Effect and which have not been disclosed in
         this Agreement. None of the representations or warranties of the Borrower, any of
         its Subsidiaries or any other Credit Party contained in the Credit Documents is
         untrue or incorrect in any material respect when made and on the Closing Date.
         There is no information, as of the Closing Date, which would contradict or is
         inconsistent in any material respect with any representation or warranty of the
         Borrower, any of its Subsidiaries or any other Credit Party contained in the Credit
         Documents.

                 (o)       Aircraft.




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                         (i)     The Borrower has and has had at all applicable times all
                necessary FAA Certificates, Equipment, Material Contracts, material
                license agreements and Intellectual Property (or has valid and effective
                licenses for all of the foregoing) necessary in connection with the design,
                manufacture, testing, sale and/or use of aircraft in the ordinary course of its
                business as presently conducted or proposed to be conducted and in
                accordance with all material requirements of Federal Aviation Act Laws
                and other applicable laws and regulations, which FAA Certificates,
                Material Contracts and material license agreements are set forth on
                Schedule 4.l(o)(i) attached hereto. Each such FAA Certificate is in full
                force and effect and is not subject to any proceedings for suspension,
                restriction, revocation or cancellation thereof. To the Borrower's
                Knowledge, there does not exist any basis for the suspension, restriction,
                revocation or cancellation of any of such FAA Certificates.

                        (ii)    Except as disclosed on Schedule 4.l(o)(ii) hereto, the
                Borrower has not received any notice or citation for non-compliance with
                any FAA Certificates or any Federal Aviation Act Laws in connection with
                the design, manufacture, testing, sale and/or use of aircraft in the ordinary
                course of its business as presently conducted or proposed to be conducted.
                With respect to any matter disclosed on Schedule 4.1 (o)(ii), the Borrower
                is taking timely and appropriate action to implement all recommendations
                for the correction of any deficiencies in its operations or inspection, quality
                control or record-keeping procedures, which were made by the FAA
                following an inspection, review, investigations or audit of such operations
                or inspection, quality control or record-keeping procedures.

                        (iii)  All Eligible Aircraft have been duly registered with the
                FAA pursuant to an Aircraft Registration, free and clear of all Liens
                (except for Permitted Liens) and security interests except in favor of the
                Agent, for the benefit of the Lenders, which registration and serial
                numbers for such Eligible Aircraft existing on the date hereof are set forth
                on Schedule 4.1 (o)(iii) attached hereto. Except for the PDS Aircraft, no
                Aircraft Registration exists as to any Aircraft which is not the subject of an
                Aircraft Mortgage Registration.

                        (iv)     Except as consented by Agent and Lenders in writing and
                for which a registration has been duly made with the FAA subject to a
                recorded mortgage and security agreement satisfactory in form and
                substance to the Agent and Lenders, and duly recorded with the FAA, all
                Aircraft and aircraft engines owned or hereafter manufactured or used in
                the business of the Borrower or which are installed or affixed or attached
                to any Aircraft have or shall have takeoff horsepower of less than seven
                hundred fifty (750) and all aircraft propellers now owned or hereafter
                manufactured or used in the business of the Borrower or which are
                installed in or affixed or attached to any Aircraft and Stock Aircraft have

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                  or shall have takeoff shaft horsepower or less than seven hundred fifty
                  (750).

                (p)     Labor Practices. Except as described in Schedule 4.l(p), to the
        Borrower's Knowledge, neither the Borrower nor any of its Subsidiaries is
        engaged in any unfair labor practice that could reasonably be expected to have a
        Material Adverse Effect. To the Borrower's Knowledge, there is no (a) no unfair
        labor practice complaint pending against the Borrower or any of its Subsidiaries or
        threatened against any of them before the National Labor Relations Board and no
        grievance or arbitration proceeding arising out of or under any collective
        bargaining agreement that is so pending against the Borrower or any if its
        Subsidiaries or threatened against any of them, (b) no strike or work stoppage in
        existence or threatened involving the Borrower or any of its Subsidiaries that
        could reasonably be expected to have a Material Adverse Effect, and (c) no union
        representation question existing with respect to the employees of the Borrower or
        such Subsidiary, as the case may be, and no union organization activity that is
        taking place, except (with respect to any matter specified in clause (a), (b) or (c)
        above, either individually or in the aggregate) such as is not reasonably likely to
        have a Material Adverse Effect.

                (q)     Emplovee Benefits. Except as set forth on Schedule 4.l(g), the
        Borrower and each of its Subsidiaries and each of their ERISA Affiliates are in
        substantial compliance with all applicable provisions and requirements of ERIS A
        and the Internal Revenue Code and the regulations and published interpretations
        thereunder with respect to each Employee Benefit Plan, and have performed all
        their obligations under each Employee Benefit Plan, except where the failure to
        perform such obligations could not, individually or in the aggregate, reasonably be
        expected to have a Material Adverse Effect. Each Employee Benefit Plan which
        is intended to qualify under Section 401(a) of the Internal Revenue Code is so
        qualified. Except as set forth on Schedule 4.1 (g), no material liability to the
        PBGC (other than required premium payments), the Internal Revenue Service, any
        Employee Benefit Plan or any Trust established under Title IV ofERISA has been
        or is expected to be incurred by the Borrower or any of its Subsidiaries or any of
        their ERISA Affiliates, other than contributions required to be made to Employee
        Benefit Plans or Trusts. Except as set forth on Schedule 4.l(g), no ERISA Event
        has occurred or is reasonably expected to occur. Except to the extent required
        under Section 4980B of the Internal Revenue Code or similar state laws, no
        Employee Benefit Plan provides health or welfare benefits (through the purchase
        of insurance or otherwise) for any retired or former employee of the Borrower, its
        Subsidiaries or any of their respective ERISA Affiliates. As of the most recent
        valuation date for any Pension Plan, the amount of unfunded benefit liabilities (as
        defined in Section 400l(a)(18) ofERISA), individually or in the aggregate for all
        Pension Plans (excluding for purposes of such computation any Pension Plans
        with respect to which assets exceed benefit liabilities), does not exceed
        $6,200,000 as of January 1, 2005. As of the most recent valuation date for each
        Multiemployer Plan for which the actuarial report is available, the potential

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(            liability of the Borrower, its Subsidiaries and their respective ERIS A Affiliates for
             a complete withdrawal from such Multiemployer Plan (within the meaning of
             Section 4203 of ERISA), when aggregated with such potential liability for a
             complete withdrawal from all Multiemployer Plans, based on information
             available pursuant to Section 4221(e) ofERISA, does not exceed $0. Except as
             set forth on Schedule 4.1 (q), the Borrower, each of its Subsidiaries and each of
             their ERISA Affiliates have complied with the requirements of Section 515 of
             ERISA with respect to each Multiemployer Plan and are not in material "default"
             (as defined in Section 4219(c)(5) ofERJSA) with respect to payments to a
             Multiemployer Plan;

                     (r)       Environmental Matters.

                             (i)    Except as set forth on Schedule 4.l(r), to the Knowledge of
                     the Borrower, neither the Borrower nor any of its Subsidiaries has any
                     Environmental Liabilities at any Relevant Property, which individually or
                     in the aggregate, could reasonably be expected to have a Material Adverse
                     Effect.

                             (ii)    The Borrower and each of its Subsidiaries: (A) has
                     operated its business in compliance with all applicable Environmental
                     Laws; (B) has obtained all Environmental Permits required by applicable
(                    Environmental Laws for the ownership and operation of its properties, and
                     all such Environmental Permits are in full force and effect or such Person
                     has made all appropriate filings for issuance or renewal of such
                     Environmental Pennits; (C) is not aware of any acts, omissions, events or
                     circumstances that may interfere with or prevent continued compliance
                     with the Environmental Laws and Environmental Permits referred to in the
                     preceding clauses (A) and (B); (D) has not received notice of any asserted
                     or threatened claim, action, suit, proceeding, hearing, investigation or
                     request for information relating to any environmental matter; and (E) has
                     not received notice from any Governmental Body that the Borrower or any
                     of its Subsidiaries is a potentially responsible party under any
                     Environmental Law at any disposal site containing Hazardous Materials,
                     nor received any that any lien under any Environmental Law against any
                     property of the Borrower or any of its Subsidiaries exists, in each case,
                     except for matters set forth on Schedule 4.1 (r) and matters, which
                     individually or in the aggregate, could not reasonably be expected to have
                     a Material Adverse Effect.

                     (s)      Insurance. The policies, binders or self-insurance programs for
            fire, liability, product liability, workmen's compensation, vehicular and other
            insurance currently held by or on behalf of the Borrower and each of its
            Subsidiaries insure its material properties and business activities against such
            losses and risks as are adequate to protect its properties in accordance with
            customary industry practice when entered into or renewed. As of the date hereof,

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         all such policies, binders and self-insurance programs are in full force and effect.
         As of the date hereof, except as set forth on Schedule 4.l(s). neither the Borrower
         nor any of its Subsidiaries has received notice from any insurer or agent of such
         insurer that substantial capital improvements or other expenditures are required.
         As of the date hereof, neither the Borrower nor any of its Subsidiaries has
         received notice of cancellation of any material insurance policy or binder.

                 (t)     Intellectual Propertv. The Borrower and each of its Subsidiaries
         owns, or is licensed or otherwise has the right to use, all the patents, trademarks,
         service marks, names (trade, service, fictitious or otherwise), cop)Tights,
         technology (including, without limitation, computer programs and software),
         processes, data bases and other rights, free from burdensome restrictions,
         necessary to own and operate its properties and to carry on its business as
         presently conducted and presently planned to be conducted without conflict with
         the rights or otherwise, except for such instances of non-compliance that,
         individually or in the aggregate, could not reasonably be expected to have a
         Material Adverse Effect.

                (u)    Absence of Events of Default. No event has occurred and is
         continuing and no condition exists which constitutes an Event of Default.

                 (v)     Absence of Other Defaults. Except as disclosed on Part I of
         Schedule 4.l(v), neither the Borrower nor any of its Subsidiaries is in default
         under any agreement, ordinance, resolution, decree, bond, note, indenture, order
         or judgment to which it is a party (by successor in interest or otherwise) or by
         which it is bound, or any other agreement or other instrument by which any of the
         properties or assets °'vned by it or used in the conduct of its business is affected,
         which individually or in the aggregate would have a Material Adverse Effect. The
         Borrower and each of its Subsidiaries has complied and is in compliance in all
         respect with all laws, except for such instances of non-compliance that,
         individually or in the aggregate, could not reasonably be expected to have a
         Material Adverse Effect.

                (w)     Material Contracts. Schedule 4. l{w) sets forth a true, correct and
        complete list and description of all the Material Contracts, as of the Closing Date,
        to which any Borrower or any Subsidiary of any Borrower is a party. Except as
        set forth on Part II of Schedule 4.1 (v), no Borrower nor any Subsidiary of any
        Borrower is in default in the performance, observance or fulfillment of any of the
        obligations, covenants or conditions contained in any of the Material Contracts,
        and no condition exists which, with the giving of notice or the lapse of time or
        both, could constitute such a default, except where the consequences, direct or
        indirect, of such default or defaults, if any, could not reasonably be expected to
        have a Material Adverse Effect.

               (x)     Brokerage Fees. Except as set forth on Schedule 4.1 (x), no
        broker's or finder's fee or commission will be payable with respect to the

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(            execution and delivery of this Agreement and the other Credit Documents, and no
             other similar fees or commissions will be payable by the Credit Parties for any
             other services rendered to the Credit Parties ancillary to the credit transactions
             contemplated herein.

                     (y)     Margin Regulations. No part of the proceeds of the Loans issued
             hereunder will be used for the purpose of buying or carrying any Margin Stock or
             to extend credit to others for the purpose of buying or carrying any Margin Stock,
             in either case in a manner which would violate or conflict with Regulations T, U
             or X of the Board Governors of the Federal Reserve System. No Credit Party is
             engaged in the business of extending credit to others for the purpose of buying or
             carrying Margin Stock. Neither the making of the Loans nor any use of proceeds
             of any such Loans will violate or conflict with the provisions of Regulations T, U
             or X of the Board of Governors of the Federal Reserve System, as amended from
             time to time.

                      (z)     Taxes. Each Borrower and each Subsidiary of each Borrower has
             filed all federal and other material Tax returns required to be filed by it and has
             not failed to pay any material taxes, or interest and penalties relating thereto, on or
             before the due dates thereof except for Taxes not yet due and except for those the
             amount or validity of which is currently being contested in good faith by              '
             appropriate proceedings. Except to the extent that reserves therefor are reflected
(            in the Financials, (i) there are no material federal, state or local tax liabilities of
             Parent or any of its Subsidiaries due or to become due for any tax year ended on or
             prior to the date hereof relating to Parent or any of its Subsidiaries, which are not
             properly reflected in the Financials delivered pursuant to Section 3.l(d), and (ii)
             there are no material claims pending, proposed or threatened against Parent or any
             of its Subsidiaries for past federal, state or local taxes, except those, if any, as to
             which proper reserves in accordance with GAAP are reflected in such Financials.

                      (aa)    USA Patriot Act; Etc. To the Knowledge of the Borrower, each
             Credit Party is in compliance in all material respects with the USA Patriot Act
             (Title III of Pub.L. 107-56 (signed into law October 26, 2001)) (the "Patriot Act").
             No part of the proceeds of the extensions of credit hereunder will be used, directly
             or indirectly, for any payments to any governmental official or employee, political
             party, official of a political party, candidate for political office or anyone else
             acting in an official capacity, in order to obtain, retain or direct business or obtain
             any improper advantage, in violation of the federal Foreign Corrupt Practices Act
             of 1977.




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                                          ARTICLE V
                                     Affirmative Covenants

        Section 5.1    Affirmative Covenants. Each Credit Party covenants and agrees
that until payment in full of all Obligations, each Credit Party shall perform, and shall
cause each of its Subsidiaries to perfonn, all the covenants in this Article V:

                (a)    Basic Reporting Requirements. The Borrower shall furnish to the
         Agent and the Lenders:

                          (i)    as soon as available but in any event within one hundred
                  twenty (120) days after the close of each Fiscal Year, the audited
                  consolidated Financials of the Borrower and its Subsidiaries for such
                  Fiscal Year, certified by the Borrower's accountants;

                          (ii)    as soon as available but in any event within sixty (60) days
                  after the end of each Fiscal Quarter, the unaudited consolidated Financials
                  of the Borrower and its Subsidiaries for such quarter, certified by its chief
                  financial officer pursuant to a Financial Officer Certification;

                          (iii)   as soon as available but in any event within thirty (30)
                  Business Days after the end of each fiscal month the unaudited
                  consolidated Financials of the Borrower and its Subsidiaries for such
                  month, certified by its chief financial officer pursuant to a Financial
                  Officer Certification;

                          (iv)    together with the quarterly and annual audited consolidated
                  Financials, a certificate of the Borrower setting forth computations
                  demonstrating compliance with the financial covenants set forth in Section
                  6.2, and certifying that no Default or Event of Default has occurred, or if a
                  Default or an Event of Default has occurred, the actions taken by the
                  Borrower with respect thereto; and

                         (v)    not later than sixty (60) days prior to the end of each Fiscal
                  Year an updated financial projection for the succeeding Fiscal Year.

                 (b)     Visitation; Verification. The Borrower, each of its Subsidiaries
         and each of the other Credit Parties shaH keep true and accurate books of account
         in accordance with GAAP and shall permit the Agent and, if an Event of Default
         has occurred and is continuing, any Lender and/or any of their designated
         representatives, upon reasonable notice and at the expense of the Borrower, to
         visit and inspect the premises of the Borrower, any of its Subsidiaries and/or other
         Credit Party, to examine the books of account of any such Persons (and to make
         copies and/or extracts therefrom) and to discuss the affairs, finances and accounts
         of such Persons with, and to be advised as to the same by, the officers of such
         Persons and to be advised as to such or other business records upon the request of


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             the Agent and/or Lender.
(
                     (c)      Maintenance of Properties. The Borrower, each of its Subsidiaries
             and each of the other Credit Parties shall maintain its corporate/legal existence
             and business, maintain its assets in good operating conditions and repair (subject
             to ordinary wear and tear and to aU provisions of this Agreement permitting sales
             of certain of Borrower's assets), keep its business and assets adequately insured,
             maintain its chief executive office in the United States, continue to engage in the
             same lines of business, and comply in all material respects with all Regulations,
             including, without limitation, ERISA and Environmental Laws, except to the
             extent that failure to so act, which either individually or in the aggregate, could
             not reasonably expected to have a Material Adverse Effect.

                     (d)     Notice of Material Events. Each Borrower, each of its Subsidiaries
             and each of the other Credit Parties shall notify the Agent and the Lenders
             promptly in writing (i) of the occurrence of any Default or Event of Default, (ii) of
             any Credit Party obtaining Knowledge of any noncompliance with ERISA or any
             Environmental Law or proceeding in respect thereof which could have a material
             adverse effect on such Person, (iii) any Credit Party obtaining Knowledge of any
             threatened or pending litigation or similar proceeding affecting such Borrower,
             any of its Subsidiaries or any other Credit Party involving claims in excess of
             $100,000 in the aggregate or any material change in any such litigation or
             proceeding previously reported, (iv) of any Credit Party obtaining Knowledge of
             claims in excess of $100,000 in the aggregate against any assets or properties of
             the Borrower, any of its Subsidiaries or any other Credit Party encumbered in
             favor of the Agent and/or the Lenders and (v) any other development that results
             in, or could reasonably be expected to result in, a Material Adverse Effect.

                    (e)     Use of Proceeds. The Borrower, each of its Subsidiaries and each
            of the other Credit Parties shall use the proceeds of the Loans only as permitted by
            Section 2.6 hereof (for the avoidance of doubt, the proceeds of the Loans shall not
            be used for the purpose of purchasing or carrying of "margin security" or "margin
            stock" within the meaning of Regulations T, U and/or X of the Board of
            Governors of the Federal Reserve System, 12 C.F.R. Parts 221 and 224).

                     (f)       Further Assurances.

                             (i)     The Borrower, each of its Subsidiaries and each of the other
                     Credit Parties shall cooperate with the Agent, take such action, execute
                     such documents, and provide such information as the Agent may from
                     time to time reasonably request in order further to effect the transactions
                     contemplated by and the purposes of the Credit Documents.

                             (ii)   The Borrower, each of its Subsidiaries and each other
                     Credit Party shall promptly, upon request by any Lender, correct, and
                     cause each of the other parties to the Credit Document to promptly correct,


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                 any defect or error that may be discovered in any Credit Document or in
                 the execution, acknowledgment or recordation of the Credit Document.
                 Promptly upon request by the Agent or the Required Lenders, the
                 Borrower, any of its Subsidiaries and each other Credit Party shall execute,
                 acknowledge, deliver, record, file and register, any and all such further
                 acts, deeds, conveyances, documents, security agreements, pledge
                 agreements, mortgages, deeds of trust, trust deeds, assignments, financing
                 statements and continuations, notices of assignment, transfers, certificates,
                 assurances and other instruments as the Agent or the Required Lenders
                 may require from time to time in order to carry out more effectively the
                 purposes of each Credit Document. Without limiting the foregoing, the
                 Borrower, each of its Subsidiaries and/or each other Credit Party shall (A)
                 provide Agent with fully executed UCC-1 financing statements for all
                 jurisdictions requested by the Agent, and (B) take such action from time to
                 time (including, without limitation, filing, executing and delivering such
                 assignments, security agreement and other instruments) as shall be
                 reasonably requested by the Agent to create, in favor of the Lenders, to the
                 extent required under the respective Collateral Documents and to the
                 maximum extent permitted under applicable law, a first-priority perfected
                 Lien in all of the Collateral.

                 (g)       Account Control Agreements.

                          (i)    The Borrower Parties shall establish and maintain one or
                 more accounts (each a "Cash Management Account") pursuant to a
                 lock box arrangement acceptable to the Agent with a bank or banks as may
                 be selected by the Borrower and approved by the Agent. The Borrower
                 shall issue to each such bank an irrevocable letter of instruction directing
                 such bank to deposit all payments or other remittances received in the
                 lockbox to the Cash Management Account maintained at such Bank. The
                 Borrower Parties shall instruct all of their Account Debtors to forward all
                 items of payment to such lock boxes. In the event that the Borrower shall
                 at any time receive any remittances of any of the foregoing directly or shall
                 receive any other funds representing proceeds of the Collateral, the
                 Borrower shall hold the same in trust for the benefit of the Agent and shall
                 promptly deposit the same into a Cash Management Account.

                         (ii)    The Borrower, each of its Subsidiaries and each other
                 Credit Party shall enter into an account control agreement in form and
                 substance acceptable to the Agent as necessary to provide Wachovia, and,
                 after the New Wachovia Facility terminates, Agent, with "control" over
                 each Deposit Account of any Credit Party (including, without limitation,
                 each Cash Management Account) as provided for under Section 9-104 of
                 Article 9 of the UCC for the purpose of perfecting the security interest
                 which Agent has in such Deposit Account pursuant to the Collateral
                 Documents; provided that, prior to the occurrence of an Event of Default

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                      and the acceleration of the Obligations hereunder, the Borrower, each of
                      its Subsidiaries and each other Credit Party shall have complete discretion
                      and control over all of their Deposit Accounts and all funds on deposit
                      therein from time to time. No arrangement contemplated hereby or by any
                      account control agreement in respect of any Deposit Account of any Credit
                      Party shall be modified by any Credit Party without the prior written
                      consent of the Agent.

                      (h)     Insurance. The Borrower shall maintain and/or shall cause each of
             its Subsidiaries to maintain, at its respective expense, and keep in effect with
             responsible insurance companies, such liability insurance for bodily injury and
             third-party property damage as is customary in the case of companies engaged in
             the same or similar business or having similar properties, similarly situated. The
             Borrower shall, and shall cause each of its Subsidiaries to, keep and maintain, at
             its expense, its material real and personal property insured against loss or damage
             by fire, theft, explosion, spoilage and all other risks ordinarily insured against by
             other owners or users of such properties in similar businesses in an amount equal
             to the full replacement or cash value thereof, subject to deductible amounts which
             the Borrower, in its reasonable judgment, deem prudent.

                     (i)     Information Regarding Collateral. The Borrower will furnish to
            the Agent prompt written notice of any change in (i) any Credit Party's corporate
(
            name or any trade name used to identify it in the conduct of its business or any
            Credit Party's chief executive office, its principal place of business or its
            jurisdiction of organization, (ii) any Credit Party's identity or corporate structure
            or (iii) any Credit Party's federal Taxpayer Identification Number. The Borrower
            will not effect or permit any change referred to in the preceding sentence unless
            all filings have been made under the UCC and the Federal Aviation Act Laws and
            all other actions have been taken that are required so that such change will not at
            any time adversely affect the validity, perfection or priority of any Lien
            established under any Credit Document on the Collateral.

                     G)      Existence: Conduct of Business. The Borrower will do or cause to
            be done all things necessary to preserve, renew and keep in full force and effect its
            legal existence and the rights, licenses, permits (including, wihtout limitation,
            Environmental Permits) privileges, franchises, patent, copyrights, trademarks and
            trade names material to the conduct of its business, except to the extent that
            failure to so act, which either individually or in the aggregate, could not
            reasonably expected to have a Material Adverse Effect; provided that the
            foregoing shall not prohibit any merger, consolidation, liquidation or dissolution
            permitted under Section 6.1 (g).

                   (k)     Pavment of Obligations. The Borrower will pay its Indebtedness
            and other obligations, including Tax liability, before the same shall become
            delinquent or in default, except where (a) the validity or amount thereof is being
            contested in good faith by appropriate proceedings, (b) the Borrower has set aside

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        on its books adequate reserves with respect thereto in accordance with GAAP, (c)
        such contest effectively suspends collection of the contested obligation and the
        enforcement of any Lien securing such obligation and (d) the failure to make
        payment pending such contest could not reasonably be expected to result in a
        Material Adverse Effect.

                (1)      Compliance with Laws.

                        (i)      The Borrower will comply with all laws (including, without
                limitation, all Environmental Laws and Federal Aviation Act Laws), rules,
                licenses, permits, Regulations and orders of any Governmental Body
                applicable to it or its property (including, without limitation, any Type
                Certificate(s), Production Certificate(s), Dealer's Aircraft Registration
                Certificate(s) and Airworthiness Certificate(s)), except where failures to
                do so, in the aggregate, could not reasonably be expected to result in a
                Material Adverse Effect.

                        (ii)   The Borrower shall establish and maintain, at its expense, a
                system to ensure and monitor its and its subcontractors', suppliers' and
                vendors' continued compliance in all material respects with all Federal
                Aviation Act Laws and all FAA Certificates in all aspects to designing, ·
                manufacturing, testing, selling and operation any Aircraft, which system
                shall include period reviews of such compliance by employees or agents to
                the Borrower show are familiar with the requirements of the Federal
                Aviation Act Laws and all FAA Certificates. At Agent's or Lenders'
                request, copies of all manuals, compliance surveys and results of
                investigations conducted by the FAA or notices received by the Borrower
                from the FAA shall be promptly furnished, or caused to be furnished, by
                Borrower to the Agent and Lenders. The Borrower shall promptly notify
                Agent and Lenders of and shall take prompt and appropriate action to
                respond to any non-compliance with any of the Federal Aviation Act Laws
                or the FAA Certificates.

                (m)     Subsidiaries. If any Subsidiary is formed or acquired after the
        Closing Date, the Borrower will, within three Business Days after such Subsidiary
        is formed or acquired, notify the Agent and the Lenders thereof and cause any
        equity interest in or Indebtedness owned by or on behalf of any Credit Party to be
        added to the Collateral.

                (n)     Guarantors. The Borrower shall cause any Domestic Subsidiary
        forn1ed after the date hereof (each, a "Guarantor") to become a Guarantor
        hereunder by (i) executing ajoinder to this Agreement in the form of Exhibit E
        hereto and (ii) executing a guaranty in the form of Exhibit D hereto. Upon
        delivery of any such joinders to Agent, notice of which is hereby waived by the
        parties hereto, each such Guarantor shall be as fully a party hereto as if such
        Guarantor were an original signatory hereof. Each Guarantor expressly agrees

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(            that its obligations arising hereunder shall not be affected or diminished by the
             addition or release of any other Guarantor hereunder, nor by any election of Agent
             not to cause any Subsidiary of the B01Tower to become a Guarantor hereunder.

                       (o)     Broker's Claims. The Borrower hereby indemnifies and agrees to
             hold each Lender and Agent harmless from and against any and all losses,
             liabilities, damages, costs and expenses which may be suffered or incurred by
             such Lender or Agent, as the case may be, in respect of any claim, suit, action or
             cause of action now or hereafter asserted by a broker or any Person acting in a
             similar capacity arising from or in connection with the execution and delivery of
             this Agreement or any other Credit Document or Hedge Agreements or the
             consummation of the transactions contemplated herein or therein. This Section
             5 .1 (o) shall survive termination of this Agreement.

                      (p)    Commissions. Notwithstanding anything to the contrary contained
             herein, the Borrower shall be allowed to pay VDN a commission in an amount
             equal to 3.0% of the net purchase price received by Borrower (after the payment
             of al] other commissions) in connection with any helicopter VDN sells on behalf
             of the Borrower to customers located in Thailand and Indonesia. Such
             commission shall be payable to VDN upon the satisfaction of the Borrower's
             obligations under the applicable sale and purchase contract between the Borrower
             and such customer.
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                                             ARTICLE VI
                                           Negative Covenants

             Section 6.1    Negative Covenants. Each Credit Party covenants and agrees that
    until all of the Obligations have been paid in full, each Credit Party shall perform, and
    shall cause each of its Subsidiaries to perform, all covenants in this Section 6.1:

                    (a)     Indebtedness. None of the Borrower, any of its Subsidiaries or any
            other Credit Party shall create, incur, permit to exist or assume any Indebtedness
            other than (i) Indebtedness to the Agent and/or the Lenders arising under the
            Credit Documents, (ii) guarantee, indemnity, reimbursement and contribution
            agreements and similar agreements entered into in the ordinary course in
            connection with performance bonds issued for the account of Borrower, (iii)
            Indebtedness of Credit Parties existing as of the Closing Date set forth on
            Schedule 6.1 (a) hereto, (iv) Indebtedness in respect of the acquisition of property
            (including Capital Leases) the outstanding amount of which does not exceed
            $200,000 in the aggregate, or (v) Indebtedness in respect of taxes or other
            governmental charges contested in good faith by appropriate proceedings and for
            which the Borrower has made appropriate reserves (the Indebtedness described in
            the foregoing clauses (i) through (v) of this paragraph, collectively, the "Permitted
            Indebtedness").

                     (b)       Liens. None of the Borrower, any of its Subsidiaries or any other


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         Credit Party shall create or incur, or cause any of its Subsidiaries to create or
         incur, any Liens on any of the property or assets of the Borrower or any of the
         Subsidiaries of such Person, except (i) Liens securing the Obligations, (ii) Liens
         securing taxes or other governmental charges not yet due or due but contested in
         good faith by appropriate proceedings and for which the Borrower has made
         appropriate reserves (so long as the holder of any such Lien is not taking any
         active steps to enforce or foreclose on such Lien), (iii) deposits or pledges made in
         connection with social security obligations and deposits, pledges and other Liens
         to secure and support obligations arising under the agreements referred to in
         Section 6.1 (a)(ii) hereof, (iv) Liens oflandlords, carriers, warehousemen,
         mechanics and materialmen and other similar statutory Liens arising in the
         ordinary course of the Borrower's business, less than 120 days old as to
         obligations not yet due or due but contested in good faith by appropriate
         proceedings and for which the Borrower has made appropriate reserves (so long as
         the holder of any such Lien is not taking any active steps to enforce or foreclose
         on such Lien), (v) easements, rights of way, zoning restrictions and similar minor
         Liens which individually and in the aggregate do not have a material adverse
         effect on the Borrower and/or any of its Subsidiaries and (vi) the Liens listed on
         Schedule 6.l(b) (the liens described in the foregoing clauses (i) through (vi) of
         this paragraph, the "Permitted Liens").

                 (c)     Sales and Lease-Backs. No Credit Party shall, nor shall it permit
         any of its Subsidiaries to, directly or indirectly, become or remain liable as lessee
         or as a guarantor or other surety with respect to any lease of any property (whether
         real, personal or mixed), whether now owned or hereafter acquired, which such
         Credit Party (i) has sold or transferred or is to sell or to transfer to any other
         Person (other than the Borrower or any of its Subsidiaries), or (ii) intends to use
         for substantially the same purpose as any other property which has been or is to be
         sold or transferred by such Credit Party to any Person (other than the Borrower or
         its Subsidiaries) in connection with such lease.

                 (d)     Transactions with Shareholders and Affiliates. Except as provided
        in Section 5 .1 (p ), no Credit Party shall, nor shall it permit any of its Subsidiaries
        to, directly or indirectly, enter into or permit to exist any transaction (including the
        purchase, sale, lease or exchange of any property or the rendering of any service)
        with any holder of 5% or more of any class of Capital Stock of the Borrower or its
        Subsidiaries or with any Affiliate of the Borrower, except those transactions that
        are (i) on terms no less favorable to the Borrower or that Subsidiary, as the case
        may be, than those that generally might be obtained at the time from a Person who
        is not such a holder or an Affiliate and (ii) approved by the board of directors of
        the Borrower.

                (e)      Investments. None of the Borrower, any of its Subsidiaries or any
        other Credit Party shall make any Investments other than Investments in (i)
        marketable obligations of the United States maturing within one (1) year, (ii)
        certificates of deposit, bankers' acceptances and time and demand deposits of

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(            United States banks having total assets in excess of $1,000,000,000 or other
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             similar cash equivalents, (iii) ownership by Borrower or any of its existing
             Subsidiaries of the Capital Stock of their existing Subsidiaries, (iv) Indebtedness
             owing to the Borrower from any of its Subsidiaries, (v) existing Investments set
             forth on Schedule 6. l(e) hereto, (vi) agreements referred to in Section 6.1 (a)(ii)
             hereof, or (vii) such other Investments as the Agent may from time to time
             approve in writing. For the avoidance of doubt, the Borrower will be pennitted to
             create new Domestic Subsidiaries so long as any such newly created Domestic
             Subsidiary becomes a Guarantor hereunder in accordance with Section 5.1 (n).

                     (f)     Certain Agreements. If the Borrower, any of its Subsidiaries or
             Credit Party shall create or assume any Lien upon any of its properties or assets,
             whether now owned or hereafter acquired, other than Permitted Liens, it shall
             make or cause to be made effective provision whereby the Obligations will be
             secured by such Lien equally and ratably with any and all other Indebtedness
             secured thereby as long as any such Indebtedness shall be so secured; provided,
             notwithstanding the foregoing, this covenant shall not be construed as a consent
             by Lenders to the creation or assumption of any such Lien not otherwise permitted
             hereby. Except with respect to (i) specific property encumbered to secure
             payment of particular Indebtedness or to be sold pursuant to an executed
             agreement with respect to a permitted Asset Sale and (ii) restrictions by reason of
             customary provisions restricting assignments, subletting or other transfers
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             contained in leases, licenses and similar agreements entered into in the ordinary
             course of business (provided, that such restrictions are limited to the property or
             assets secured by such Liens or the property or assets subject to such leases,
             licenses or similar agreements, as the case may be), none of the Borrower, any of
             its Subsidiaries or any other Credit Party shall enter into any agreement
             prohibiting the creation or assumption of any Lien upon any of its properties or
             assets, whether now owned or hereafter acquired.

                     (g)     Mergers; Asset Sales. None of the Borrower, any of its
             Subsidiaries or any other Credit Party shall (i) become party to a merger or
             consolidation, (ii) effect any disposition of assets other than in the ordinary course
             and except for other dispositions of assets with a value of up to $50,000 per Fiscal
             Year, (iii) purchase, sell, lease or otherwise dispose of assets other than in the
             ordinary course, (iv) make any changes in the corporate structure or identity of the
             Borrower, its Subsidiaries or any other Credit Party which has a Material Adverse
             Effect on the Borrower and/or any of its Subsidiaries or (v) enter into any
             agreement to do any of the foregoing; nrovided, that, any Subsidiary of the
             Borrower may merge with and into the Borrower or any other Subsidiary of the
             Borrower upon not less than thirty (30) days' prior written notice to the Agent of
             such merger.

                     (h)     Fiscal Year. None of the Borrower, any of its Subsidiaries or any
             other Credit Party shall change its or any of its Subsidiaries' fiscal year without
             the prior written consent of the Required Lenders, which consent shall not

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         unreasonably be withheld.

                (i)     Restricted Payments. None of the Borrower, any of its
         Subsidiaries or any other Credit Party shall, directly or indirectly, declare, order,
         pay, make or set apart any sum for (i) any Restricted Junior Payment or (ii)
         Indebtedness owed to any Affiliate of a Credit Party.

                G)       Disposition of Collateral. Except as provided in Section 6.1 (g)
         above, the Borrower may not, from and after the date that any Collateral
         Document is executed, sell, assign, lease, convey, transfer or otherwise dispose of
         any Collateral or enter into any agreement to do any of the foregoing without the
         prior written consent of the Required Lenders.

              (k)    Term C Loans. The Borrower shall not draw on the Term C
         Commitment except to pay the Term C Trigger Amount.

                 (l)     Subsidiaries. Neither the Borrower nor any of its Subsidiaries shall
         form, or cause to be formed, any other Subsidiary, unless (i) all property and
         assets of such newly formed Subsidiaries and (ii) all stock of any class of such
         newly formed Subsidiary, in each case, are pledged to the Agent for the benefit of
         the Agent and Lenders in accordance with the terms hereof and of the Collateral
         Documents.

                 (m)      Conduct of Business. From and after the Closing Date, no Credit
         Party shall, nor shall pennit any of its Subsidiaries to, engage in any business
         other than (i) the business engaged in by such Credit Party on the Closing Date
         and similar or related businesses, and (ii) such other lines of business as may be
         consented to by the Lenders.

       Section 6.2    Financial Covenants. On or before September 30, 2005, Borrower
and Lenders shall agree upon financial covenants applicable to Borrower.

                                        ARTICLE VII
                     Increased Costs; Taxes; Indemnification; Set Off; Etc.




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             Section 7.1    Increased Costs; Capital Adequacy. In the event that any Lender
    shall have determined that the adoption, effectiveness, phase in or applicability after the
    Closing Date of any Regulation (or any provision thereof) regarding capital adequacy
    applicable to such Lender, or any change therein or in the interpretation or administration
    thereof by any Governmental Body, central bank or comparable agency charged with the
    interpretation or administration thereof, or compliance by any Lender (or its applicable
    lending office) with any guideline, request or directive regarding capital adequacy
    (whether or not having the force oflaw) of any such Governmental Body, central bank or
    comparable agency applicable to such Lender, has or would have the effect of reducing
    the rate of return on the capital of such Lender or any company controlling such Lender as
    a consequence of, or with reference to, such Lender's obligations hereunder with respect
    to the Loans to a level below that which such Lender or such controlling corporation
    could have achieved but for such adoption, effectiveness, phase in, applicability, change
    or compliance (taking into consideration the policies of such Lender or such controlling
    corporation with regard to capital adequacy), then from time to time, within five Business
    Days after receipt by the Borrower from such Lender of the statement refened to in the
    next sentence, the Bonower shall pay to such Lender such additional amount or amounts
    as will compensate such Lender or such controlling company on an after tax basis for
    such reduction. Such Lender shall deliver to the Borrower (with a copy to Agent) a
    written statement, setting forth in reasonable detail the basis for calculating the additional
    amounts owed to Lender under this Section, which statement shall be conclusive and
(   binding upon all parties hereto absent manifest error.

             Section 7.2       Taxes; Withholding. etc.

                        (a)    Payments to Be Free and Clear. All sums payable by any Credit
               Party hereunder and under the other Credit Documents shall (except to the
               extent required by law) be paid free and clear of, and without any deduction or
               withholding on account of, any Tax (other than a Tax on the overall net income
               of Agent or any Lender) imposed, levied, collected, withheld or assessed by or
               within the United States of America or any political subdivision in or of the
               United States of America or any other jurisdiction from or to which a payment
               is made by or on behalf of any Credit Party or by any federation or organization
               of which the United States of America or any such jurisdiction is a member at
               the time of payment; provided, however, that the Borrower shall be under no
               obligation to increase the sum payable to any Lender not organized under the
               laws of the United States or a state thereof (a "Foreign Lender") by an amount
               equal to the amount of the United States Tax required to be withheld under
               United States law from the sums paid to such Foreign Lender, if such
               withholding is caused by the failure of such Foreign Lender to be engaged in
               the active conduct of a trade or business in the United States, or all amounts of
               interest and fees to be paid to such Foreign Lender hereunder are not effectively
               connected with such trade or business within the meaning of U.S. Treasury
               Regulation 1.1441-1 (a) or such Foreign Lender fails to comply with Section
               7.2(c).


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                    (b)     Withholding of Taxes. If any Credit Party is required by law to
            make any deduction or withholding on account of any such Tax from any sum
            paid or payable by any Credit Party to Agent or any Lender on account of a
            transaction under any of the Credit Documents, but not any Tax imposed on the
            Agent or any Lender in the ordinary or general conduct of business, which the
            Agent or Lender would have been subject to without regard to whether it had
            engaged in any transaction under any of the Credit Documents: (i) Borrower
            shall notify Agent of any such requirement or any change in any such
            requirement as soon as the Borrower becomes aware of it, (ii) Borrower shall
            pay any such Tax before the date on which penalties attach thereto, such
            payment to be made (if the liability to pay is imposed on any Credit Party) for
            its own account or (if that liability is imposed on Agent or such Lender, as the
            case may be) on behalf of and in the name of Agent or such Lender, (iii) the
            sum payable by such Credit Party in respect of which the relevant deduction,
            withholding or payment is required shall be increased to the extent necessary to
            ensure that, after the making of that deduction, withholding or payment, Agent
            or such Lender, as the case may be, receives on the due date a net sum equal to
            what it would have received had no such deduction, withholding or payment
            been required or made, and (iv) within 30 days after paying any sum from
            which it is required by law to make any deduction or withholding, and withir~
            30 days after the due date of payment of any Tax which it is required by clause
            (ii) above to pay, Borrower shall deliver to Agent evidence satisfactory to the
            other affected parties of such deduction, withholding or payment and of the
            remittance thereof to the relevant taxing or other authority.

                    (c)     Foreign Lenders. Each Foreign Lender agrees that it will deliver
            to Bon-ower and Agent (i) two (2) duly completed copies of United States
            Internal Revenue Service Form W-8BEN or W-8ECI or other applicable United
            States Internal Revenue Service forms, or successor applicable form(s), as the
            case may be, together with any other certificate or statement of exemption
            required under the Internal Revenue Code or regulations issued thereunder.
            Each such Foreign Lender also agrees to deliver to Borrower and Agent two (2)
            further copies of said Form W-8BEN or W-8ECI or other applicable United
            States Internal Revenue Service forms, or successor applicable form(s) or other
            manner of certification, as the case may be, on or before the date that any such
            form expires or becomes obsolete or after the occurrence of any event requiring
            a change in the most recent form previously delivered by it to Borrower and
            Agent, and such extensions or renewals thereof as may reasonably be requested
            by the Borrower or Agent, unless in any such case an event (including, without
            limitation, any change in treaty, law or regulation) has occurred prior to the date
            on which any such delivery would otherwise be required which renders all such
            forms inapplicable or which would prevent such Foreign Lender from duly
            completing and delivering any such form with respect to it and such Lender so
            advises Borrower and Agent. Such Foreign Lender shall certify in the case of a
            Form W-8BEN or W-8ECI or other applicable United States Internal Revenue


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(               Service forms that it is entitled to receive payments under this Agreement
                without deduction or withholding of any United States federal income taxes and
                that it is entitled to an exemption from United State backup withholding tax.

             Section 7.3        Indemnification.

                         (a)     Indemnification bv the Borrower. The Borrower and its
                Subsidiaries will indemnify and defend the Agent, the Lenders and each of their
                respective shareholders, partners, members, managers, directors, officers,
                employees, agents, attorneys and Affiliates (collectively, the "Indemnified
                Persons") against and hold each Indemnified Person harmless from any and all
                liabilities, obligations, losses, damages, costs, expenses, claims, penalties,
                Actions, judgments, disbursements of any kind or nature whatsoever, interest,
                fines, cleanup costs, settlements, costs of preparation and investigation, costs
                incurred in enforcing this indemnity and reasonable attorneys' fees and
                expenses (collectively, "Losses"), that any of the Indemnified Persons may
                incur, suffer, sustain or become subject to arising out of, relating to, or due to
                (i) any material inaccuracy or breach of any of the representations and
                warranties of any Credit Party contained in any Credit Document or in any
                certificate delivered thereunder, (ii) the nonfulfillment or breach of any
                covenant, undertaking, agreement or other obligation of any Credit Party
                contained in any Credit Document or in any certificate delivered thereunder,
(               (iii) any Environmental Liability, and/or (iv) any use of proceeds of any Loan;
                provided that such indemnity shall not, as to any Indemnified Person, be
                available to the extent such Losses arise out of the gross negligence or willful
                misconduct of such Person. Upon request of an Indemnified Person, the
                Borrower shall retain counsel reasonably satisfactory to the Indemnified Person
                to represent the Indemnified Person(s) in connection with any Losses or
                threatened Losses and shall pay the reasonable fees and disbursements of such
                counsel. Each Indemnified Person shall have the right to employ its own
                counsel at the expense of the Borrower if (i) the employment of counsel by the
                Indemnified Person at the Borrower's expense has been authorized in ·writing
                by the Borrower, (ii) the Borrower has not in fact employed counsel to
                represent the Indemnified Person within a reasonable time after receiving notice
                of a request for the retention of counsel or (iii) both the Indemnified Person and
                the Borrower are implicated with respect to the Losses or the threatened Losses,
                and representation of both parties by the same counsel would be inappropriate
                due to actual or potential differing interests between them, in each of which
                cases the reasonable fees and expenses of counsel (including local counsel) will
                be at the expense of the Borrower, and all such fees and expenses will be
                reimbursed promptly as they are incurred.

                        (b)     Contribution. If the indemnification provided for in Section
                7.3(a) is prohibited under applicable Regulations to an Indemnified Person,
                then the Borrower, in lieu of indemnifying the Indemnified Person, will
                contribute to the amount paid or payable by the Indemnified Person as a result

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            of the Losses in such proportion as is appropriate to reflect the relative fault of
            the Borrower, on the one hand, and of the Indemnified Person, on the other, in
            cmmection with the events or circumstances which resulted in the Losses as
            well as any other relevant equitable considerations.

         Section 7.4      Right of Set Off. In addition to any rights now or hereafter granted
under applicable law and not by way of limitation of any such rights, upon the occurrence
of any Event of Default each Lender and Agent are hereby authorized by each Credit
Party at any time or from time to time, without notice to any Credit Party or to any other
Person, any such notice being hereby expressly waived, to set off and to appropriate and
to apply any and all deposits (general or special, including Indebtedness evidenced by
certificates of deposit, whether matured or unmatured, but not including trust accounts)
and any other Indebtedness at any time held or owing by such Lender or Agent to or for
the credit or the account of any Credit Party against and on account of the Obligations of
any Credit Party to such Lender or Agent hereunder, irrespective of whether or not (a)
such Lender or Agent shall have made any demand hereunder or (b) the principal of or
the interest on the Loans or any other amounts due hereunder or the other Credit
Documents shall have become due and payable and although such obligations and
liabilities, or any of them, may be contingent or unmatured.

        Section 7 .5    Funding Breakage. In addition to the compensation required unaer
Section 7 .1, the Borrower shall, agree to pay all administrative fees charged by Lender
and indemnify each Lender against any loss or expense (including loss of margin) which
such Lender has incurred as a consequence of any payment or prepayment of any Loan on
a day other than the last day of the corresponding Interest Period (whether or not such
payment is mandatory or automatic and whether or not such payment or prepayment is
then due). If any Lender sustains or incurs any such loss or expense or if any Lender has
charged the Borrower for an administrative expense it shall from time to time promptly
notify the Borrower and the Agent in writing setting forth in reasonably detail the amount
determined in good faith by such Lender (such determination shall be conclusive absent
manifest error) to be necessary to indemnify such Lender for such loss or expense and the
amount of such administrative expense. Such amount shall be due and payable by the
Borrower to the Agent for the account of such Lender, five Business Days after such
notice is given.

                                        ARTICLE vm
                                       Events of Default

        Section 8.1   Events of Default. Any one or more of the following events which
shall occur and be continuing shall constitute an "Event of Default":

                 (a)    Failure to Make Pavments When Due. Failure by the Borrower to
        pay when due any installment of principal of, or interest on, the Loans, whether at
        stated maturity, by acceleration, by notice of voluntary prepayment, by mandatory
        prepayment or otherwise, or any fee or any other amount due hereunder, and such
        failure, except in respect of principal and interest, is continuing for three (3) days

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(,,
               after the due date therefor.

                       (b)    Breach of Certain Covenants. Failure of any Credit Party to
               perform or comply with any term or condition contained in Section 2.6, Article V
               or Article VI.

                       (c)     Breach of Representations, Etc. Any representation, warranty,
               certification or other statement made or deemed made by any Credit Party in any
               Credit Document or in any statement or certificate at any time given by any Credit
               Party or any of its Subsidiaries in writing, pursuant hereto or thereto or in
               connection herewith or therewith shall be false in any material respect as of the
               date made or deemed made.

                       (d)     Other Defaults Under Credit Documents. Any Credit Party shall
               default in the performance of or compliance with any term contained herein or any
               of the other Credit Documents, other than any such term referred to in any other
               subsection of this Section 8.1, and such default shall not have been remedied or
               waived within ten (] 0) days.

                      (e)     Default in Other Agreements. (i) Failure of any Credit Party to
              pay when due any principal of or interest on or any other amount payable in
              respect of one or more items of Indebtedness in an individual principal amount of
              $50,000 or more or with an aggregate principal amount of $150,000 or more, in
              each case beyond the grace period, if any, provided therefor, or (ii) breach or
              default by any Credit Party with respect to any other material term of (A) one or
              more items of Indebtedness in the individual or aggregate principal amounts
              referred to in clause (i) above or (B) any loan agreement (including, without
              limitation, the New Wachovia Facility), mortgage, indenture or other agreement
              relating to such item oflndebtedness, in each case beyond the grace period, if any,
              provided therefor, if the effect of such breach or default is to cause, or to permit
              the holder or holders of such Indebtedness (or a trustee on behalf of such holder or
              holders) to cause, such Indebtedness to become or be declared due and payable (or
              redeemable) prior to its stated maturity or the stated maturity of any underlying
              obligation, as the case may be, in either case as a result of such breach or default.

                      (f)     Involuntary Bankruptcv, Appointment of Receiver. etc. (i) A court
              of competent jurisdiction shall enter a decree or order for relief in respect of the
              Borrower or any of its Subsidiaries in an involuntary case under the Bankruptcy
              Code or under any other applicable bankruptcy, insolvency or similar law now or
              hereafter in effect, which decree or order is not stayed, or any other similar relief
              shall be granted under any applicable federal or state law, or (ii) an involuntary
              case shall be commenced against the Borrower or any of its Subsidiaries under the
              Bankruptcy Code or under any other applicable bankruptcy, insolvency or similar
              law now or hereafter in effect, or a decree or order of a court having jurisdiction in
              the premises for the appointment of a receiver, liquidator, sequestrator, trustee,
              custodian or other officer having similar powers over the Borrower or any of its

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         Subsidiaries, or over all or a substantial part of its property, shall have been
         entered; or there shall have occurred the involuntary appointment of an interim
         receiver, trustee or other custodian of the Borrower or any of its Subsidiaries for
         all or a substantial part of its property or a warrant of attachment, execution or
         similar process shall have been issued against any substantial part of the property
         of the Borrower or any of its Subsidiaries, and any such event described in this
         clause (ii) shall continue for 60 days without having been dismissed, bonded or
         discharged.

                 (g)      Voluntarv Bankruptcy, Appointment of Receiver, Etc. (i) The
         Borrower or any of its Subsidiaries shall have an order for relief entered with
         respect to it or shall commence a voluntary case under the Bankruptcy Code or
         under any other applicable bankruptcy, insolvency or similar law now or hereafter
         in effect, or shall consent to the entry of an order for relief in an involuntary case,
         or to the conversion of an involuntary case to a voluntary case, under any such
         law, or shall consent to the appointment of or taking possession by a receiver,
         trustee or other custodian for all or a substantial part of its property; or the
         Borrower or any of its Subsidiaries shall make any assignment for the benefit of
         creditors, or (ii) the Borrower or any of its Subsidiaries shall be unable, or shall
         fail generally, or shall admit in writing its inability, to pay its debts as such debts
         become due; or the board of directors (or similar governing body) of the Borrower
         or any of its Subsidiaries (or any committee thereof) shall adopt any resolution or
         otherwise authorize any action to approve any of the actions referred to herein or
         in Section 8.1 (f).

                 (h)     Judgments and Attachments. Any money judgment, writ or
         warrant of attachment or similar process involving (i) in any individual case an
         amount in excess of $100,000 or (ii) in the aggregate at any time an amount in
         excess of $250,000 (in either case to the extent not adequately covered by
         insurance as to which a solvent and unaffiliated insurance company has
         acknowledged coverage) shall be entered or filed against the Borrower or any of
         its Subsidiaries or any of their respective assets and shall remain undischarged,
         unvacated, unbonded or unstayed for a period of 30 days (or in any event later
         than 5 days prior to the date of any proposed sale thereunder).

                 (i)    Dissolution. Any order, judgment or decree shall be entered
         against any Credit Party decreeing the dissolution or split up of the Borrower or
         any of its Subsidiaries and such order shall remain undischarged or unstayed for a
         period in excess of ten (10) days.

                  (j)       Change of Control. A Change of Control shall occur.

                  (k)    Collateral Documents and other Credit Documents. At any time
         after the execution and delivery thereof, (i) (x) this Agreement or any Credit
         Document ceases to be in full force and effect (other than by reason of a release of
         Collateral in accordance with the terms hereof or thereof or the satisfaction in full

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(            of the Obligations in accordance with the terms hereof) or shall be declared null
             and void, or (y) Agent shall not have or shall cease to have a valid and perfected
             first priority Lien in any Collateral purported to be covered by the Collateral
             Documents (except (1) as expressly permitted by the Credit Documents or (2) as a
             result of the actions or failures to act of Agent or any Lender), or (ii) any Credit
             Party shall contest the validity or enforceability of any Credit Document in ,,-riting
             or deny in writing that it has any fmiher liability under any Credit Document to
             which it is a party.

                      (I)    Liens. At any time after the execution and delivery thereof, the
             Liens created by the Collateral Documents shall not constitute a valid and
             perfected Lien on the Collateral intended to be covered thereby (to the extent
             perfection by filing, registration, recordation or possession is required herein or
             therein) in favor of the Lenders, free and clear of all other Liens (other than Liens
             permitted under Section 6.1 (b) or under the respective Collateral Documents), or,
             except for expiration in accordance with its terms, any of the Collateral
             Documents shall for whatever reason be terminated or cease to be in full force and
             effect, or the enforceability thereof shall be contested by any Credit Party.

                     (m)    FAA Certificates. At any time after the execution and delivery
             thereof, any Production Certificate, Type Certificate or other FAA Certificate of
             the Borrower or any of its Subsidiaries shall be terminated, suspended, withdrawn
             or revoked or shall be modified or amended in a manner that is adverse to the
             business of the Borrower in any material respect.

             Section 8.2       Remedies. Upon and after the occurrence of an Event of Default:

                       (a)    Non-Bankruptcy Related Defaults. In the case of any Event of
               Default specified in any Section other than Section 8.l(f) or 8.l(g), the Agent
               may, and at the request of the Required Lenders shall, by notice to the Borrower
               from time to time do any or all of the following: (i) declare the unpaid
               principal amount of the Loans, interest accrued thereon and all other
               Obligations to be immediately due and payable, which shall become
               immediately due and payable without presentment, demand, protest or other
               notice of any kind, all of which are hereby waived by the Borrower and (ii)
               declare the Revolving Credit Commitment terminated, whereupon the
               Revolving Credit Commitments will terminate and any fees hereunder shall be
               immediately due and payable without presentment, demand, protest or further
               notice of any kind, all of which are hereby waived, and an action therefor shall
               immediately accrue.

                       (b)     Bankruptcy Events of Default. In the case of either of the
               Events of Default specified in Section 8.l(f) or 8.l(g), automatically, without
               any notice to the Borrower or any other act by the Agent or any Lender, each of
               the following shall immediately become due and payable without presentment,
               demand, protest or other notice of any kind, all of which are hereby waived by

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            the Borrower: (i) the unpaid principal amount of and interest on the Loans and
            (ii) all other Obligations.

                    (c)    Remedies in All Events of Default. The Agent shall, at the
            request of or with the consent of the Required Lenders, (i) exercise all rights
            and remedies provided in the Credit Documents, (ii) exercise any right of
            counterclaim, setoff, banker's lien or otherwise which it may have with respect
            to money or property of the Borrower, (iii) bring any lawsuit, action or other
            proceeding permitted by law for the specific perfonnance of, or injunction
            against any violation of, any Credit Document and may exercise any power
            granted under or to recover judgment under any Credit Document, (iv) enforce
            any and all Liens and security interests created pursuant to Credit Documents,
            and (v) exercise any other right or remedy permitted by applicable Regulations.

                   (d)      Lenders' Remedies. Unless otherwise directed by the Required
           Lenders, in case any one or more of the Events of Default shall have occurred
           and be continuing, and whether or not the Lenders shall have accelerated the
           maturity of the Loans pursuant to Section 8.2, the Required Lenders, if owed
           any amount with respect to the Loans, may proceed to protect and enforce their
           rights by suit in equity, action at law or other appropriate proceeding, whether
           for the specific performance of any covenant or agreement contained in this ·
           Credit Agreement and the other Credit Documents or any instrument pursuant
           to which the Obligations to such Lenders are evidenced, including as permitted
           by applicable law the obtaining of the ex parte appointment of a receiver, and,
           if such amount shall have become due, by declaration or otherwise, proceed to
           enforce the payment thereof or any other legal or equitable right of such
           Lenders.

                  (e)     Remedies Cumulative. No remedy herein conferred upon any
           Lender or the Agent or the holder of a Term Note or a Revolving Credit Note is
           intended to be exclusive of any other remedy and each and every remedy shall
           be cumulative and shall be in addition to every other remedy given hereunder or
           now or hereafter existing at law or in equity or by statute or any other provision
           oflaw.

                                        ARTICLE IX
                                         The Agent

        Section 9.1     Appointment of Agent. PPAS is hereby appointed Agent
hereunder, and each Lender hereby authorizes the Agent to act as its agent in accordance
with the terms hereof and the other Credit Documents. The Agent hereby agrees to act
upon the express conditions contained herein and the other Credit Documents, as
applicable. The provisions of this Article IX are solely for the benefit of the Agent and
the Lenders and no Credit Party shall have any rights as a third-party beneficiary of any of
the provisions thereof. In performing its functions and duties hereunder, the Agent shall
act solely as an agent of the Lenders and does not assume, and shall not be deemed to

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have assumed, any obligation towards or relationship of agency or trust with or for the
Borrower or any of its Subsidiaries. The Agent, without consent of or notice to any party
hereto, may assign any and all of its rights or obligations hereunder to any of its
Affiliates.

        Section 9.2      Powers and Duties. Each Lender irrevocably authorizes the Agent
to take such action on such Lender's behalf and to exercise such powers, rights and
remedies hereunder and under the other Credit Documents as are specifically delegated or
granted to the Agent by the terms hereof and thereof, together with such powers, rights
and remedies as are reasonably incidental thereto. The Agent shall have only those duties
and responsibilities that are expressly specified herein and the other Credit Documents.
The Agent may execute any of its duties under this Agreement and the other Credit
Documents by or through agents or attorneys-in-fact, or may assign such duties to its
wholly owned nominee without the consent of the Lenders, and shall be entitled to rely on
advice of counsel concerning all matters pertaining to such duties. The Agent shall not
have, by reason hereof or any of the other Credit Documents, a fiduciary relationship in
respect of any Lender and nothing herein or any of the other Credit Documents, expressed
or implied, is intended to or shall be so construed as to impose upon the Agent any
obligations in respect hereof or any of the other Credit Documents except as expressly set
forth herein or therein.

        Section 9.3    Delegation of Duties. Agent may execute any of its duties under
this Agreement or any other Credit Document by or through third parties, agents,
employees or attorneys-in-fact (any such entity, a "Sub-Agent") or may assign such duties
to its wholly owned nominee without the consent of the Lenders, and shall be entitled to
advice of counsel concerning all matters pertaining to such duties. Agent shall not be
responsible for the negligence or misconduct of any Sub-Agent that it selects as long as
such selection was made with reasonable care. The Borrower and each Lender hereby
agree that any Sub-Agent appointed hereunder shall be entitled to the benefit of the
provisions of Sections 7.3, 9.2, 9.4, 9.5, 9.6, 9.7, 9.10 and 9.11 of this Agreement as if
such Sub-Agent is a party to this Agreement.

         Section 9.4       General Immunity.

                   (a)     No Responsibility for Certain Matters. The Agent shall not be
           responsible to any Lender for the execution, effectiveness, genuineness,
           validity, enforceability, collectability or sufficiency hereof or any other Credit
           Document or for any representations, warranties, recitals or statements made
           herein or therein or made in any written or oral statements or in any financial or
           other statements, instruments, reports or certificates or any other documents
           furnished or made by the Agent to any Lender or by or on behalf of any Credit
           Party to the Agent or any Lender in connection with the Credit Documents and
           the transactions contemplated thereby or for the financial condition or business
           affairs of any Credit Party or any other Person liable for the payment of any
           Obligations, nor shall the Agent be required to ascertain or inquire as to the
           performance or observance of any of the tern1s, conditions, provisions,

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            covenants or agreements contained in any of the Credit Documents or as to the
            use of the proceeds of the Loans or as to the existence or possible existence of
            any Event of Default or Default. Anything contained herein to the contrary
            notwithstanding, the Agent shall not have any liability arising from
            confirmations of the amount of the outstanding Loans.

                     (b)     Exculpatory Provisions. None of the Agent nor any of its
            officers, trustees, partners, members, directors, employees, attorneys or agents
            shall be liable to Lenders for any action taken or omitted by the Agent under or
            in connection with any of the Credit Documents, except to the extent caused by
            the Agent's gross negligence or willful misconduct. The Agent shall be entitled
            to refrain from any act or the taking of any action (including the failure to take
            an action) in connection herewith or any of the other Credit Documents or from
            the exercise of any power, discretion or authority vested in it hereunder or
            thereunder unless and until the Agent shall have received instructions in respect
            thereof from the Required Lenders (or such other Lenders as may be required to
            give such instructions under Section 10.1) and, upon receipt of such
            instructions from the Required Lenders (or such other Lenders, as the case may
            be), the Agent shall be entitled to act or (where so instructed) refrain from
            acting, or to exercise such power, discretion or authority, in accordance with,
            such instructions. Without prejudice to the generality of the foregoing, (i) the
            Agent shall be entitled to rely, and shall be fully protected in relying, upon any
            communication, instrument or document believed by it to be genuine and
            correct and to have been signed or sent by the proper Person or Persons, and
            shall be entitled to rely and shall be protected in relying on opinions and
            judgments of attorneys (who may be attorneys for the Borrower and its
            Subsidiaries), accountants, experts and other professional advisors selected by
            it, and (ii) no Lender shall have any right of action whatsoever against the
            Agent as a result of the Agent acting or refraining from acting hereunder or any
            of the other Credit Documents in accordance with the instructions of the
            Required Lenders (or such other Lenders as may be required to give such
            instructions under Section 10.1 ). The Agent shall be fully justified in failing or
            refusing to take any action under this Agreement or any other Credit Document
            which involves discretionary decision making absent express written
            instructions from the Required Lenders with respect thereto.

        Section 9.5      Agent Entitled to Act with the Borrower. The Agent and its
Affiliates may accept deposits from, lend money to and generally engage in any kind of
banking, trust, financial advisory or other business with the Borrower or any of its
Affiliates as if it were not performing the duties specified herein, and may accept fees and
other consideration from the Borrower for services in connection herewith and otherwise
without having to account for the same to Lenders.




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        Section 9.6       Lenders' Representations, Warranties and Acknowledgment.

                    (a)    Each Lender represents and warrants that it has made its own
           independent investigation of the financial condition and affairs of the Borrower
           and each of its Subsidiaries in connection with the Borrowing(s) hereunder and
           that it has made and shall continue to make its own appraisal of the
           creditworthiness of the Borrower and each of its Subsidiaries. The Agent shall
           not have any duty or responsibility, either initially or on a continuing basis, to
           make any such investigation or any such appraisal on behalf of Lenders or to
           provide any Lender with any credit or other information with respect thereto,
           whether coming into its possession before the making of the Loans or at any
           time or times thereafter, and the Agent shall not have any responsibility with
           respect to the accuracy of or the completeness of any information provided to
           Lenders.

                  (b)     Each Lender, by delivering its signature page to this Agreement
           and funding or holding any of its Loans on the Closing Date, shall be deemed to
           have acknowledged receipt of, and consented to and approved, each Credit
           Document and each other document required to be approved by the Agent or
           Lenders, as applicable on the Closing Date.

         Section 9.7    Right to Indemnity. Each Lender, in proportion to its Pro Rata
Share, severally (and not jointly) agrees to indemnify the Agent and its stockholders,
directors, officers, employees, agents, attorneys and Affiliates (each an "Indemnified
Agent Person"), to the extent that the Agent shall not have been reimbursed by any Credit
Party, for and against any and all liabilities, obligations, losses, damages, penalties,
actions, judgments, suits, costs, expenses (including attorneys' fees and disbursements) or
disbursements of any kind or nature whatsoever which may be imposed on, incurred by or
asserted against such Indemnified Agent Person in exercising its powers, rights and
remedies or performing its duties hereunder or under the other Credit Documents or
otherwise in its capacity as the Agent in any way relating to or arising out hereof or in
connection with the Credit Documents; provided, no Lender shall be liable for any
portion of such liabilities, obligations, losses, damages, penalties, actions, judgments,
suits, costs, expenses or disbursements resulting from the Agent's gross negligence or
willful misconduct. If any indemnity furnished to the Agent for any purpose shall, in the
opinion of such Agent, be insufficient or become impaired, the Agent may call for
additional indemnity and cease, or not commence, to do the acts indemnified against until
such additional indemnity is furnished; provided, further, in no event shall this sentence
require any Lender to indemnify the Agent against any liability, obligation, loss, damage,
penalty, action, judgment, suit, cost, expense or disbursement in excess of such Lender's
Pro Rata Share thereof, and provided, further, this sentence shall not be deemed to require
any Lender to indemnify the Agent against any liability, obligation, loss, damage, penalty,
action, judgment, suit, cost, expense or disbursement described in the proviso in the
immediately preceding sentence.



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         Section 9.8       Successor Agent.

                     (a)    The Agent may resign at any time by giving not less than forty-
            five (45) Business Days' prior written notice thereof to the Lenders and the
            Borrower. Upon any such resignation, the Required Lenders shall have the
            right to appoint a successor Agent, which shall be (i) one of the Lenders or an
            Affiliate of one of the Lenders or (ii) a Person who would be an eligible
            successor agent if appointed by the resigning Agent under Section 9 .8(b ).

                   (b)     If no successor Agent shall have been so appointed by the
           Lenders within ten (l 0) Business Days after the resigning Agent's giving of
           notice of resignation, then the resigning Agent may appoint, on behalf of the
           Borrower and the Lenders, a successor Agent, which shall be a commercial
           bank organized under the laws of the United States of America or of any state
           thereof and having a combined capital and surplus of at least $250,000,000. In
           the event that the Agent is unable to appoint a replacement successor within ten
           (10) Business Days after it is entitled to do so after using reasonable efforts, the
           Agent may nonetheless resign by delivering a written resignation to the Lenders
           and the Borrower, provided that in such circumstances, and unless and until a
           successor Agent is appointed, the Agent shall remain Agent solely for the
           purpose of serving as secured party of record with respect to the Collateral, its
           sole duty in that capacity shall be to take such ministerial actions as it shall be
           directed to take by the Lenders (including, without limitation, the execution and
           delivery of documents or instruments relating to the Collateral), and the Agent
           shall be entitled to reimbursement from the Borrower for its out-of-pocket costs
           and expenses and reasonable compensation from the Borrower for its services.
           Jfthe Agent has resigned and no successor Agent has been appointed, subject to
           the preceding sentence, the Lenders shall perform the duties of the Agent
           hereunder, and the Borrower shall make all payments in respect of the
           Obligations to the applicable Lender and shall deal directly with the Lenders.

                   (c)     No successor Agent shall be deemed to be appointed hereunder
           until such successor Agent has accepted the appointment in writing. Upon the
           acceptance of any appointment as Agent hereunder by a successor Agent and
           upon the execution and filing of such financing statements, or amendments
           thereto, and such other instruments and notices, as may be necessary or
           desirable or as the Required Lenders may request, in order to continue the
           perfection of the Liens granted or purported to be granted under the Collateral
           Documents, such successor Agent shall succeed to and become vested with all
           the rights, powers, discretion, privileges and duties of the resigning Agent, and
           the resignation or termination of the Agent shall then be effective for all
           purposes. Upon the effectiveness of the resignation or termination of the
           Agent, the resigning or terminated Agent shall be discharged from its duties and
           obligations under the Credit Documents. After the effectiveness of the
           resignation or termination of an Agent, the provisions of Section 7.3, Section
           10.3 and this Article IX shall continue to inure to the former Agent's benefit as

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                to any actions taken or omitted to be taken by it while it was acting as the Agent
                under this Agreement.

             Section 9.9        Collateral Documents.

                        (a)     Agent as Agent under Collateral Documents. Each Lender
                hereby further authorizes Agent, on behalf of and for the benefit of the Lenders,
                to be the agent for and representative of the Lenders with respect to the
                Collateral and the Collateral Documents. Subject to Section 10.1, without
                further written consent or authorization from the Lenders, Agent may execute
                any documents or instruments necessary to release any Lien encumbering any
                item of Collateral that is the subject of a sale or other disposition of assets
                permitted hereby or to which the Lenders have otherwise consented in the
                manner provided herein.

                         (b)     Agent's Right to Realize on Collateral. Anything contained in
                any of the Credit Documents to the contrary notwithstanding the Borrower,
                Agent and each Lender hereby agree that (i) no Lender shall have any right
                individually to realize upon any of the Collateral, it being understood and
                agreed that all powers, rights and remedies hereunder may be exercised solely
                by Agent, on behalf of Lenders in accordance with the terms hereof, and (ii) in
                the event of a foreclosure by Agent on any of the Collateral pursuant to a public
(               or private sale, Agent or any Lender may be the purchaser of any or all of such
                Collateral at any such sale and Agent, as agent for and representative of
                Lenders (but not any Lender or Lenders in its or their respective individual
                capacities unless the Required Lenders shall otherwise agree in writing) shall be
                entitled, for the purpose of bidding and making settlement or payment of the
                purchase price for all or any portion of the Collateral sold at any such public
                sale, to use and apply any of the Obligations as a credit on account of the
                purchase p1ice for any collateral payable by Agent at such sale.

            Section 9 .10 Notice of Default. The Agent shall not be deemed to have
    knowledge or notice of the occurrence of any Default or Event of Default hereunder
    unless the Agent has received notice from a Lender or the Borrower referring to this
    Agreement, describing such Default or Event of Default and stating that such notice is a
    "notice of default". In the event that the Agent receives such a notice, the Agent shall
    promptly give notice thereof to the Lenders. The Agent shall take such action with
    respect to such Default or Event of Default as shall be reasonably directed by the Lenders;
    provided that unless and until the Agent shall have received such directions, the Agent
    may (but shall not be obligated to) take such action, or refrain from taking such action,
    with respect to such Default or Event of Default as it shall deem advisable in the best
    interests of the Lenders.

            Section 9.11 Delivery of Documents, Notices, Etc. In addition to, and in
    furtherance of any requirement placed upon the Agent herein to deliver, provide,
    distribute, notify or otherwise convey items received from the Borrower to the Lenders,

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the Agent shall promptly notify Lenders of any notices, documents, requests, demands or
other items Agent received from the Borrower and promptly deliver or convey, to the
extent they are in written form, such notices, documents, requests, demands or items to
the Lenders.

                                            ARTICLEX
                                            Miscellaneous

          Section 10.1        Amendments and Waivers .

                 . (a)   General. Subject to Section 10.l(b) and Section 10.l(c) below, no
          amendment, modification, termination or waiver of any provision of the Credit
          Documents, or consent to any departure by any Credit Party therefrom, shall be
          effective without the written consent of the Required Lenders.

                  (b)     Other Consent. Notwithstanding the provisions of Section 10.l(a)
          above, no amendment, modification, termination or waiver of any provision of the
          Credit Documents, or consent to any departure by any Credit Party therefrom,
          shall amend, modify, terminate or waive any provision of Article IX as the same
          applies to the Agent, or any other provision hereof as the same applies to the
          rights or obligations of the Agent, in each case without the consent of the Agent.

                  (c)    Prior Unanimous Written Consent. Without the prior unanimous
          written consent of the affected Lenders,

                            (i)     no amendment, consent or waiver shall (A) affect the
                    amount or extend the time of the obligation of any Lender to make the
                    Loans or (B) extend the originally scheduled time or times ofrepayment of
                    the principal of the Loans or (C) alter the time or times of payment of
                    interest on the Loans or of any fees payable for the account of the Lenders
                    or (D) alter the amount of the principal of the Loans or the rate of interest
                    thereon or (E) alter the amount of any fee payable hereunder to the account
                    of the Lenders or (F) pennit any subordination of the principal of or
                    interest on the Loans or (G) permit the subordination of the Lien credited
                    by the Collateral Documents in any of the Collateral;

                           (ii)    no Collateral, other than in connection with an Asset Sale
                   or any other sale made in accordance with the terms hereof or as otherwise
                   specifically permitted in this Agreement or the Collateral Documents, shall
                   be released from the Lien of the Collateral Documents; and

                         (iii)      none of the provisions of this Section 10.1 (c) shall be
                   amended.

                  (d)     Effect ofNotices, Waivers or Consents. Any waiver or consent
          shall be effective only in the specific instance and for the specific purpose for
          which it was given. No notice to or demand on any Credit Party in any case shall

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(
             entitle any Credit Party to any other or further notice (except as otherwise
             specifically required hereunder or under any other Credit Document) or demand in
             similar or other circumstances. Any amendment, modification, termination,
             waiver or consent effected in accordance with this Section 10.1 shall be binding
             upon each Lender at the time outstanding, each future Lender and, if signed by a
             Credit Party, on such Credit Party.

              Section 10.2 Notices. All notices, requests, demands and other communications
    to any party or given under any Credit Document (collectively, the "Notices") will be in
    \\'l1ting and delivered personally, by overnight courier or by registered mail to the parties
    at the following address or sent by facsimile, with confirmation received, to the facsimile
    number specified below (or at such other address or facsimile number as will be specified
    by a party by like notice given at least five calendar days prior thereto):

                         (a) If to the Borrower, at:

                               MD Helicopters, Inc.
                               4555 East McDowell Road M615
                               Mesa, Arizona 85215-9734
                               Telephone:   (480) 346-6101
                               Facsimile:   (480) 346-6801
                               Attention:   Henk Schaeken

                               With a copy to:

                               Jennings, Strouss & Salmon, PLC
                               201 East Washington Street
                               Phoenix, Arizona 85215
                               Telephone:     (602) 262-5919
                               Facsimile:     (602) 495-2630
                               Attention:     David Kash, Esq.

                        (b) If to the Agent, at:

                               Patriarch Partners Agency Services, LLC
                               112 South Tryon Street
                               Suite 700
                               Charlotte, North Carolina 28284
                               Attention:     Loan Administration/MD Helicopters
                               Telephone:     (704) 227-1200
                               Facsimile:     (704) 375-0358

                               with a copy to:

                               Richards Spears Kibbe & Orbe LLP
                               One World Financial Center


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                           New York, New York 10281
                           Telephone:  (212) 530-1800
                           Facsimile:  (212) 530-1801
                           Attention:  Larry G. Halperin, Esq.

                   (c)     If to the Lenders, to the address for such Lender set forth on the
            signature pages hereto.

All Notices will be deemed delivered when actually received. Each of the parties will
hereafter notify the other in accordance with this Section l 0.2 of any change of address or
telecopy number to which notice is required to be mailed.

        Section 10.3 Expenses. Whether or not the transactions contemplated hereby
shall be consummated or any Loan shall be made, the Borrower agrees to pay promptly:

                    (a)    all the actual and reasonable costs and expenses of preparation
            of the Credit Documents and any consents, amendments, waivers or other
            modifications thereto; the reasonable fees, expenses and disbursements of
            counsel to Agent in connection with the negotiation, preparation, execution and
            administration of the Credit Documents and any consents, amendments,
            supplements, waivers or other modifications thereto and any other documents
            or matters requested by the Borrower;

                    (b)    all the actual costs and reasonable expenses of creating and
            perfecting Liens in favor of Agent, for the benefit of Lenders and Agent,
            pursuant hereto, including, without limitation, filing and recording fees,
            expenses and taxes, stamp or documentary taxes, search fees, title insurance
            premiums and reasonable fees, expenses and disbursements of counsel to Agent
            and Lenders;

                   (c)    all the actual costs and reasonable fees, expenses and
            disbursements of any auditors, accountants, consultants or appraisers;

                    (d)     all the actual costs and reasonable expenses (including, without
            limitation, the reasonable fees, expenses and disbursements of any appraisers,
            consultants, advisors and agents employed or retained by Agent and its counsel)
            in connection with the inspection, verification, custody or preservation of any
            of the Collateral, to the extent required or permitted hereunder;

                   (e)     after the occurrence of a Default or an Event of Default, all costs
           and expenses, including reasonable attorneys' fees (including, without
           limitation, allocated costs of internal counsel) and costs of settlement, incurred
           by any Agent and/or Lenders in enforcing any Obligations of or in collecting
           any payments due from any Credit Party hereunder or under the other Credit
           Documents by reason of such Default or Event of Default (including in
           connection with the sale of, collection from, or other realization upon any of the


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                Collateral or the enforcement of any guaranty) or in connection with any
                negotiations, reviews, refinancing or restructuring of the credit anangements
                provided hereunder, including, without limitation, in the nature of a "work out"
                or pursuant to any insolvency or bankruptcy cases or proceedings; and

                        (f)    the foregoing shall not be in addition to, and shall not be
                construed to limit, any other provisions of the Credit Documents regarding
                costs and expenses to be paid by the Bonower.

             Section 10.4      Enforceability: Successors and Assigns.

                        (a)    Enforceability: Successors and Assigns. This Agreement will be
                binding upon and inure to the benefit of and is enforceable by the respective
                successors and pennitted assigns of the parties hereto. This Agreement may not
                be assigned by the Bonower hereto without the prior written consent of the
                Agent and each Lender. Any assignment or attempted assignment in
                contravention of this Section will be void ab initio and will not relieve the
                assigning party of any obligation under this Agreement.

                       (b)      Assignments. Each Lender may assign (each, an "Assignment")
               to one or more Eligible Assignees (each, an "Assignee") all or a portion of its
               rights and obligations under this Agreement (including all or a portion of such
(              Lender's Loans and Notes, as the case may be). Such Assignment may be made
\
               without the consent of the Bonower but shall require the consent of the Agent.
               In connection with any such Assignment, the assigning Lender and the
               Assignee shall execute and deliver to the Agent an Assignment Agreement, in
               the form of Exhibit 10.4(b) (each, an "Assignment Agreement"), and a $3,500
               assignment fee (the "Assignment Fee") payable to Agent. Upon its receipt of a
               duly executed and completed Assigmnent Agreement, Agent shall record the
               information contained in such Assignment Agreement in the Register, shall
               give prompt notice thereof to the Borrower and shall maintain a copy of such
               Assignment Agreement in its Principal Office. From and after the effective
               date of an Assignment, the Assignee shall be a party hereto and, to the extent of
               the interest assigned pursuant to the Assignment, have the rights and
               obligations of a lender under this Agreement, and the assigning Lender shall, to
               the extent of the interest assigned, be released from its obligations under this
               Agreement. The Borrower hereby consents to the disclosure of any information
               obtained by Lender in connection with this Agreement to any Person to which
               Lender sells, or proposes to sell, its Loans or Notes.

                        (c)    Participations. Each Lender may sell participations (each, a
               "Participation") to one or more Persons (each, a "Participant") in all or a
               portion of such Lender's rights and obligations under this Agreement (including
               all or a portion of such Lender's Loans and Notes, as the case may be); provided
               that (i) such Lender's obligations under this Agreement shall remain unchanged,
               (ii) such Lender sha11 remain solely responsible to the Borrower for the

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            performance of such obligations, and (iii) the Borrower and the Agent shall
            continue to deal solely and directly with such Lender in connection with such
            Lender's rights and obligations under this Agreement. Any agreement or
            instrument pursuant to which such Lender sells such a participation shall
            provide that such Lender shall retain the sole right to enforce the Credit
            Documents and to approve any amendment, modification or waiver of any
            provision of the Credit Documents. The Borrower hereby consents to the
            disclosure of any information obtained by a Lender in connection with this
            Agreement and/or any other Credit Document to any Person to which such
            Lender participates, or proposes to participate, its Loans or Notes.

                     (d)    Notwithstanding anything else to the contrary contained herein,
            any Lender may any time pledge its Loans and such Lender's rights under this
            Agreement and the other Credit Documents to a Federal Reserve Bank and, in
            the case of any Lender that is a fund, to its trustee for the benefit of its
            investors; provided, that no such pledge to a Federal Reserve Bank (or in the
            case of any Lender that is a fund, to its trustee for the benefit of its investors)
            shall release such Lender from such Lender's obligations hereunder or under
            any other Credit Document.

        Section 10.5 Lenders' Obligations Several; Independent Nature of Lenders'
Rights. The obligation of each Lender hereunder is several and not joint and neither
Agent nor any Lender shall be responsible for the obligation of any other Lender
hereunder. Nothing contained in any Credit Document and no action taken by Agent or
any Lender pursuant hereto or thereto shall be deemed to constitute Lenders to be a
partnership, an association, a joint venture or any other kind of entity. The amounts
payable at any time hereunder to each Lender shall be a separate and independent debt,
and, provided the Agent fails or refuses to exercise any independent debt, and, provided
the Agent fails or refuses to exercise any remedies against Borrower after receiving the
direction of the Lenders, each Lender shall be entitled to protect and enforce its rights
arising out of this Agreement and it shall not be necessary for any other Lender to be
joined as an additional party in any proceeding for such purpose.

       Section 10.6 Integration. This Agreement and the other Credit Documents
contain and constitute the entire agreement of the parties with respect to the subject
matter hereof and supersede all prior negotiations, agreements and understandings,
whether written or oral, of the parties hereto.

        Section 10.7 No Waiver: Remedies. No failure or delay by any party in
exercising any right, power or privilege under this Agreement or any of the other Credit
Documents will operate as a waiver of such right, power or privilege. A single or partial
exercise of any right, power or privilege will not preclude any other or further exercise of
the right, power or privilege or the exercise of any other right, power or privilege. The
rights and remedies provided in the Credit Documents will be cumulative and not
exclusive of any rights or remedies provided by law.


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            Section 10.8 Submission to Jurisdiction. Each of the Borrower, the other Credit
    Parties, the Agent and the Lenders hereby (a) agrees that any Action with respect to any
    Credit Document may be brought only in the New York State courts sitting in New York
    County or federal courts of the United States of America sitting in the Southern District
    of New York and New York County, (b) accepts for itself and in respect of its property,
    generally and unconditionally, the exclusive jurisdiction of such courts, (c) irrevocably
    waives any objection, including, without limitation, any objection to the laying of venue
    or based on the grounds of forum non conveniens, which it may now or hereafter have to
    the bringing of any Action in those jurisdictions, and (d) irrevocably consents to the
    service of process of any of the courts referred to above in any Action by the mailing of
    copies of the process to the parties hereto as provided in Section 10.2. Service effected as
    provided in this manner will become effective ten (10) calendar days after the mailing of
    the process.

            Section 10.9 Execution in Counterparts. This Agreement may be executed in
    any number of counterparts and by different parties on separate counterparts, each of
    which, when executed and delivered, shall be deemed to be an original, and all of which,
    when taken together, shall constitute but one and the same Agreement. Delivery of an
    executed counterpart of this Agreement by facsimile shall be equally as effective as
    delivery of an original executed counterpart of this Agreement.

            Section 10.10 Governing Law. This Agreement and the other Credit Documents,
    and all claims, disputes and matters arising hereunder or thereunder or related hereto or
(
    thereto, will be governed by, and construed in accordance with, the laws of the state of
    New York applicable to contracts executed in and to be performed entirely within that
    state, without reference to conflicts of laws provisions.

          Section 10.11 Waiver of Jury. THE PARTIES HEREBY IRREVOCABLY AND
    UNCONDITIONALLY WAIVE, TO THE FULLEST EXTENT PERMITTED BY
    APPLICABLE LAW, ANY RIGHT THAT THEY MAY HAVE TO TRIAL BY JURY
    OF ANY CLAIM OR CAUSE OF ACTION, OR IN ANY LEGAL PROCEEDING,
    DIRECTLY OR INDIRECTLY BASED UPON OR ARISING OUT OF THIS
    AGREEMENT OR THE TRANSACTIONS CONTEMPLATED BY THIS
    AGREEMENT (WHETHER BASED ON CONTRACT, TORT, OR ANY OTHER
    THEORY). EACH PARTY (A) CERTIFIES THAT NO REPRESENTATIVE, AGENT,
    OR ATTORNEY OF ANY OTHER PARTY HAS REPRESENTED, EXPRESSLY OR
    OTHERWISE, THAT SUCH OTHER PARTY WOULD NOT, IN THE EVENT OF
    LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIYER AND (B)
    ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HAVE BEEN INDUCED
    TO ENTER INTO THIS AGREEMENT BY, AMONG OTHER THINGS, THE
    MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION.

            Section 10.12 Severability. If any term or other provision of this Agreement is
    invalid, illegal or incapable of being enforced by any rule of law, or public policy, all
    other conditions and provisions of this Agreement will nevertheless remain in full force
    and effect so long as the economic or legal substance of the transactions contemplated

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hereby is not affected in any manner adverse to any party. Upon such determination that
any term or other provision is invalid, illegal or incapable of being enforced, the parties
hereto will negotiate in good faith to modify this Agreement so as to effect the original
intent of the parties as closely as possible in an acceptable manner to the end that the
transactions contemplated hereby are fulfilled to the extent possible.

        Section 10.13 Survival. All representations, warranties, covenants, agreements,
and conditions contained in or made pursuant to this Agreement or the other Credit
Documents shall survive (a) the making of the Loan(s) and the payment of the
Obligations and (b) the performance, observance and compliance with the covenants,
terms and conditions, express or implied, of all Credit Documents, until the due and
punctual (i) indefeasible payment of the Obligations and (ii) perfonnance, observance and
compliance with the covenants, terms and conditions, express or implied, of this
Agreement and all of the other Credit Documents; provided, however, that the provisions
of Section 5.l(o), Article VII, Section 9.4, Section 9.6, Section 9.7 and Section 10.3 shall
survive (i) indefeasible payment of the Obligations and (ii) performance, observance and
compliance with the covenants, terms and conditions, express or implied, of this
Agreement and all of the other Credit Documents.

         Section 10. 14 Maximum Lawful Interest. Notwithstanding anything to the
contrary contained herein, in no event shall the amount of interest and other charges for
the use of money payable under this Agreement or any other Credit Document exceed the
maximum amounts permissible under any law that a court of competent jurisdiction shall,
in a final determination, deem applicable. The Borrower and the Lenders, in executing
and delivering this Agreement, intend legally to agree upon the rate or rates of interest
and other charges for the use of money and manner of payment stated within it; provided,
however, that, anything contained herein to the contrary notwithstanding, if the amount of
such interest and other charges for the use of money or manner of payment exceeds the
maximum amount allowable under applicable law, then, ipso facto as of the Closing
Date, the Borrower is and shall be liable only for the payment of such maximum as
allowed by law, and payment received from the Borrower in excess of such legal
maximum, whenever received, shall be applied to reduce the principal balance of the
Loans to the extent of such excess.

        Section ] 0.15 Interpretation. As used in this Agreement, references to the
singular will include the plural and vice versa and references to the masculine gender will
include the feminine and neuter genders and vice versa, as appropriate. Unless otherwise
expressly provided in this Agreement (a) the words "hereof', "herein" and "hereunder"
and words of similar import when used in this Agreement will refer to this Agreement as
a whole and not to any particular provision of this Agreement and (b) article, section,
subsection, schedule and exhibit references are references with respect to this Agreement
unless otherwise specified. Unless the context otherwise requires, the term "including"
will mean "including, without limitation." The headings in this Agreement and in the
Schedules are included for convenience of reference only and will not affect in any way
the meaning or interpretation of this Agreement.


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            Section 10.16 Ambiguities. This Agreement and the other Credit Documents
    were negotiated between legal counsel for the parties and any ambiguity in this
    Agreement or the other Credit Documents shall not be construed against the party who
    drafted this Agreement or such other Credit Documents.

            [Remainder of page intentionally left blank; signatures on following pages.]




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       In witness whereof, the parties hereto have caused this Agreement to be duly executed
and delivered by their respective officers thereunto duly authorized as of the date first written
above.

                                               BORROWER:




                                               By:
                                                       Na e:     c#k     K#~K(!""Af
                                                       Title: C'Hu:F   ffxeeqr1rer ~o,"'t'


                                  [Signatures continue on next page]




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                                               AGENT:

                                               PATRIARCH PARTNERS AGE
                                               SERVICES,L



                                               By:




                                  [Signatures continue on next page]




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                                               LENDERS:

                                               ZOHAR CDO 2003-1, LIMITED

                                               By: Patriarch Partners VIII, LLC,
                                                   i s Collat     1anager


                                               By:



                                               Address for Notices:
                                               c/o Patriarch Partners VIII, LLC
                                               112 South Tryon Street, Suite 700
                                               Charlotte, North Carolina 28284
                                               Telephone:     (704) 227-1200
                                               Facsimile:     (704) 375-0358]


                                               ZOHAR II 2005-1, LIMITED

                                               By:



                                               By:



                                               Address for Notices:
                                               c/o Patriarch Partners XIV, LLC
                                               112 South Tryon Street, Suite 700
                                               Charlotte, North Carolina 78284
                                               Telephone:     (704) 227-1200
                                               Facsimile:     (704) 375-0358


                                  [Signatures continue on next page]




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                                                actress for Notices:
                                              c/o Patriarch Partners, LLC
                                              40 Wall Street, 25th Floor
                                              New York, New York 10005
                                              Telephone:      (212) 825-0550
                                              Facsimile:      (212) 825-2038


                                               ARK INVESTMENT PARTNERS II, L.P.




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                                                 ddress for Notices:
                                               c/o Patriarch Partners III, LLC
                                               40 Wall Street, 25 1h Floor
                                               New York, New York 10005
                                               Telephone:     (212) 825-0550
                                               Facsimile:     (212) 825-2038




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